20-11161-tmd Doc#165 Filed 05/24/21 Entered 05/24/21 15:09:32 Main Document Pg 1 of
                                        48



                                    UNITED STATES BANKRUPTCY COURT
                                       WESTERN DISTRICT OF TEXAS
                                             AUSTIN DIVISION
  IN RE:                                            §
                                                    §
  ALLAN L. REAGAN,                                  §           CASE NO. 20-11161-tmd
                                                    §
            Debtor                                  §           CHAPTER 11


           DEBTOR-IN-POSSESSION'S SECOND AMENDED PROPOSED PLAN OF
                               REORGANIZATION

            Allan L. Reagan, the Debtor-in-Possession, ("Debtor") hereby submits to his Creditors, as

  proponent, his Second Amended proposed Plan of Reorganization ("Plan") pursuant to Chapter

   11 of Title 11 , United States Code (hereinafter the "Bankruptcy Code" or "Code").

                                               ARTICLE I

                                              DEFINITIONS

            Except as otherwise indicated, the terms used in this Plan have the definitions used in the

   Bankruptcy Code and applicable Federal Rules of Bankruptcy Procedure and the Local Rules of

   the United States Bankruptcy Court and the United States District Court for the Western District

   of Texas (the "Local Rules"). In addition, the following terms shall have the following meanings:

             1.01.     Administrative Expense shall mean those claims entitled to priority under

   § 507(a)(l), § 503(b) and § 330 of the Code, which include attorney's fees and expenses to the

   attorneys for Debtor, and shall include, without limitation, any actual and necessary expenses of

   preserving the Estate of the Debtor, any actual and necessary expenses of operating the business

   of the Debtor, any fees for Trustee and professionals employed by Trustee, and any indebtedness

   or obligations incurred or assumed by the Debtor in connection with his conduct of the business

   of Debtor, or for the acquisition or lease of property or for the obtaining of services to the Debtor,

   all allowances of compensation or reimbursement of expenses to the extent allowed by the Court



   4844-7799-2939. l-2384-7658. I
20-11161-tmd Doc#165 Filed 05/24/21 Entered 05/24/21 15:09:32 Main Document Pg 2 of
                                        48



  under the Code and any fees or charges assessed against the Estate of the Debtor under Chapter

  123 , Title 28, United States Code.

            1.02.     A llowed Claim shall mean a claim:

                      (a)           with respect to which a proof of claim has been filed with the Court within

  the applicable period oflimitation fixed by the Federal Rules of Bankruptcy Procedure, Rule 3003,

  in a liquidated non-contingent amount as to which no objection has been Filed by Debtor prior to

  the applicable Claims Objection Deadline and that is evidenced by a Proof of Claim or Interest, as

  applicable, timely Filed by the applicable Bar Date; or

                       (b)          scheduled in the list of Creditors prepared and filed with the Court pursuant

  to Federal Rules of Bankruptcy Procedure, Rule 1007(b) and is not listed as disputed, contingent,

  or unliquidated as to amount in the schedules or this plan, and

                       (c)          in either case as to (a) and (b), as to which no objection to the allowance

   thereof has been filed within any applicable period of limitation fixed by Federal Rules of

   Bankruptcy Procedure, Rule 3007, this Plan or an order of the Court, or as to which any such

   objection has been determined by a final order or judgment which is no longer subject to appeal

   and as to which no appeal is pending. An Allowed Claim shall not include unmatured or post-

   petition interest unless otherwise stated hereafter in the Plan.

             1.03.     Allowed Secured C laim shall mean an Allowed C laim secured by a lien, security

   interest, mortgage or other interest in property in which the Debtor has an interest, or which is

   subject to set-off under § 553 of the Code, to the extent of the value of such property securing the

   Allowed Secured Claim pursuant to § 506(a) of the Code or to the extent the amount is subj ect to

   said set-off as the case may be. An Allowed Secured Claim may include post-petition interest if

   permitted under § 506 of the Code.




   4844-7799-2939. J-2384-7658. l                              2
20-11161-tmd Doc#165 Filed 05/24/21 Entered 05/24/21 15:09:32 Main Document Pg 3 of
                                        48



              I .04.     Bankruptcy Code or the Code shall mean the United States Bankruptcy Code as

   contained in 11 U .S.C. § l OI, et seq., and all amendments thereto.

              1.05.      Bankruptcy Rules shall mean the Federal Rules of Bankruptcy Procedure, as

   amended and any reference to a Bankruptcy Rule shall refer to the rules of procedure set forth

   therein.

              1.06.      Chapter 11 Case shall mean the above referenced and captioned Chapter 11

   proceeding.

              1.07.      Confirmation Date shall mean the date upon which the Confirmation Order is

   entered by the Court.

              I .08.     Confirmation Order shall mean the order entered by the Court confirming the

   Plan in accordance with the provisions of Chapter 11 of the Code.

              1.09.      Confirmed Plan means this Plan together w ith any modification thereof provided

   in the Confirmation Order.

              1. I 0.    Court or Bankruptcy Court shall mean the U nited States Bankruptcy Court for

   the Western District of Texas in which the Debtor's Chapter 11 case is pending o r the U nited States

   District Court for the Western District of Texas together w ith any court having competent

  jurisdiction to hear appeals from either the Bankruptcy Court or the United States District Court.

              I . I I.   Creditor shall mean any party or entity having a claim against the Debtor,

   including but not limited to the fol lowing: Priority Creditors, Secured Creditors, Trade Creditors

   and Unsecured Creditors, as herein defi ned.

              1.12.      Debtor shall mean A llan L. Reagan, the Debtor-in-Possession and proponent of

   this Plan of Reorganization.

              1. 13.     Effective Date shall mean fifteen ( 15) days from the Confirmation Date.




   4844-7799-2939. l-2384-7658. I                        3
20-11161-tmd Doc#165 Filed 05/24/21 Entered 05/24/21 15:09:32 Main Document Pg 4 of
                                        48



            1.14.      Estate shall mean the estate created by § 541 of the Bankruptcy Code.

            1.15.      Plan shall mean this Chapter 11 Plan of Reorganization, including any

  modification, amendments or supplements thereto.

            1. 16.     Payment Due Date shall mean the day payments to Creditors are due under the

  Plan, which shall be (a) the Effective Date, (b) September 30, 2021 and (c) December 31 , 2021.

            1.17.      Payment Period shall mean that period from and after the Effective Date during

  which payments are being made to Creditors.

             1.18.     Projection Period shall mean a five-year period commencing on the Effective Date

  for which the Debtor' s projected disposable income is calculated.

             1.19.     Pro Rata shall mean the proportion that any Allowed Claim in any class bears to

   the aggregate amount of all Allowed Claims in such class.

             1.20.     Reorganized Debtor shall mean the Debtor on and after the Effective Date.

             1.21.     Trustee shall mean the Subchapter V Trustee, Michael G. Colvard, or any

   successor Trustee.

             1.22.     Unimpaired Claim shall mean any claim or any class of claims that are not

   Impaired under the Plan. The term Impaired as used in this definition refers to and is governed

   by the language of § I 124 of the Code.

             1.23.      Unsecured Claim shall mean any A llowed Claim against the Debtor (such claim

   being a claim against the Debtor' s Excluded; separate; and/or separately managed property) for

   which the holder has no security for the repayment thereof or the portion of an Allowed Secured

   Claim for which the security held by the holder of that claim is insufficient to fully satisfy the

   claim. This category includes all claims deemed unsecured pursuant to§ 506(a) of the Code.




   4844-7799-2939. l -2384-7658. I                      4
20-11161-tmd Doc#165 Filed 05/24/21 Entered 05/24/21 15:09:32 Main Document Pg 5 of
                                        48



                                                ARTICLE II

                    DESCRIPTION AND HISTORY OF THE DEBTOR'S BUSINESS
                                    DEBTOR'S ESTATE

            2.01.     Debtor's business has, for many years, involved making investments in real estate,

  sta1iup ventures and marketable securiti es, as well as managing certain operating businesses.

  Additionally, Debtor is the founder, CEO and a principal owner of "Fl ix Brewhouse" branded

  group of dine-in movie theaters ("Flix"), which, as of the Petition Date, consisted of ten theaters

  that had opened and operated for some period of time during 2020 and one unde r construction.

  T he first Flix began operations in June 20 11 , and, prior to the onset of the COVID-1 9 pandemic,

   the group was a successful movie theater operation concluding an expansio n phase. Initially, in

   mid-March 2020, all of the Flix theaters (and most movie theaters in the USA) were temporarily

   closed under a variety of government orders generally intended to " flatten the c urve."

   Concurrently, the major movie studios postponed scheduled feature films or d istributed the films

   through pay-per-view or streaming subscription channels. Both the Debtor and the movie theater

   industry in general then believed that the effects of the pandemic would ease by Summer, a nd the

   feature " Tenet" was rescheduled to release July 7. However, especially after Mem orial Day social

   gatherings, COVID-19 infection, hospitalization and death rates once again spiked, and the major

   movie studios continued to delay movie releases. " Tenet" was rescheduled for early September,

   and the industry adopted a series of protocols called C inemaSafe, designed to welcome back

   movie-goers. In each reopened auditorium, Flix installed a costly air purification and pathogen-

   neutralizing system called cold plasma bi-po lar ionization. Despite all these efforts, the restart of

   the movie theater industry was not successful. "Tenet" woefully underperformed expectations and

   the studios continued to remove films from exclusive theatrical release. In early October, Regal

   closed all 536 of its USA theaters. W ith the exception of two theaters unable to reopen due to



   4844-7799-2939. l-2384-7658. I                      5
20-11161-tmd Doc#165 Filed 05/24/21 Entered 05/24/21 15:09:32 Main Document Pg 6 of
                                        48



  government restrictions, Flix attempted to operate at cash break-even prior to rent expense and

  debt service, but was unable to do so, depleting its liquid reserves as a result. The combination of

  the pandemic and the lack of any new releases resulted in an almost negligible revenue stream,

  and between mid-October and early November 2020 Flix closed all eight reopened theaters for an

  indefinite period. As of the date of this Amended Plan approximately 53% of the movie theaters

  in North America are likewise indefinitely closed. Flix, which once employed over 1,200, now has

  five full-time equivalent empl oyees. Other cinema eatery chains, including CMX, Studio Movie

  Grill and most recently Alamo Drafthouse, have filed for Chapter 11 protection.

            2.02.      As discussed above, in addition to Flix, Debtor has historically made investments

   in real estate, start-up companies, and marketable securities. One of the real estate investments,

   made through 3401 Hoteliers LP ("Hoteliers"), was a Wyndham Garden Hotel in Austin, Texas.

   Similar to Flix, with the onset of the pandemic, the revenues from that hotel disappeared. Hoteliers

   obtained a so-called "PPP" loan but once those funds were exhausted, and Hoteliers was

   unsuccessful after months of effort to obtain a debt forbearance, the hotel was closed on October

   18, 2020. The secured lender for that property, Wel ls Fargo (as agent), obtained appointment of

   a receiver for the property on December 14, 2020 and, along with Hoteliers, has been attempting

   to market the property. A tentative buyer has been identified, but no contract signed as of the date

   of this Amended Plan. Were the tentative transaction to close it is unlikely that Hoteliers would

   receive any proceeds distributable to its owners.

             2.03.     The Debtor is also the principal of Aramcor Inc. , which provides management

   services for the Debtor's real estate holdings and related entities. Aramcor has, in the past, paid

   the Debtor a monthly gross salary of $96,000, which included services provided to Flix. During

   2020, Debtor briefly went on the Flix payroll when it was resuming operations, but after the most




   4844-7799-2939. I-2384-7658. l                       6
20-11161-tmd Doc#165 Filed 05/24/21 Entered 05/24/21 15:09:32 Main Document Pg 7 of
                                        48



  recent closure Debtor' s salary from Flix has been eliminated, pending the return of Flix ' s ability

  to pay.

            2.04.     Debtor' s other principal business interests include partial ownership and control of

  the following (list is not complete of all business interests; readers are encouraged to review the

  Schedules filed in this case and the Liquidation Analysis attached as Exhibit "B"):

            - Southwestern Retail Properties, L.P., which owns the shop space within the Sky Ridge

  Plaza shopping center in Round Rock, Texas.

            - Southwestern Retail Properties II, LP, w hich owns the ancho r space in Sky Ridge Plaza,

  of which approximately 70% is leased to the Round Rock, Texas Flix Brewhouse.

            - Southwestern Retail Properties, III, LP which owns the single-tenant land and building

  on which the brand new (opened February 2020) F lix Brewhouse in San Antonio, Texas is located.

            - Round Rock Business Park, LP, which owns the Park West Corporate Center in Round

   Rock, Texas.

            - Prairie Pointe Estates, Inc., which owns a tract of land being developed as a residential

   subdivision in Burnet County, Texas.

            -100 Trinity LLC, w hich is a private investment entity that has made a variety of both

   specialty loans and conventional investments since 2008.

            - as reflected on the Debtor's schedules, Debtor has small minority investments in certain

   other entities, including Newser, Inc . and First Stop Health.

             2.05.     The Debtor has executed guaranty agreements, for certain lease obligations and

   loans, as set forth more fully in the Debtor's schedules. The combined pressures of the loss of

   revenue to Flix, diminished receipts for the shopping center entities, loss of income from the hotel




   4844-7799-2939. l-2384-7658. l                        7
20-11161-tmd Doc#165 Filed 05/24/21 Entered 05/24/21 15:09:32 Main Document Pg 8 of
                                        48



  property, declared defaults under various loans and leases and creditor pressures regarding the

  ripening contingent guaranty liabilities resulted in the need for the Debtor to fil e this case.

                                                BANKRUPTCY

            2.06.      On October 22, 2020 (the "Petition Date"), Debtor filed a voluntary petition for

  relief under Subchapter V of Chapter 11 of the Bankruptcy Code, which commenced the Chapter

   11 Case titled In Re: Allan L. Reagan and currently pending before this Court and assigned case

  number 20-11161 case (the "Chapter 11 Case"), the lead case for this adversary proceeding.

  Debtor continues to manage and operate his business as a debtor-in-possession pursuant to

   Bankruptcy Code § § 1107 and 1108. On October 27, 2020, Michael G. Colvard was appointed

   Subchapter V trustee.

                                               DEBTOR'S PLAN

            2.07.      The Debtor' s plan payment to Class 3 creditors analysis is attached as Exhibit "A".

   The Plan provides for accelerated payments equal to the entire amount of the Debtor' s projected

   disposable income for the next five years fo llowing the Effective Date, totaling $3,020,253. This

   sum is payable over the remainder of 2021 in three installments as follows: $1 ,510,127 on the

   Effective Date, $755,063 on or before September 30, 2021, and $755,063 on or before December

   31, 202 1 (herein defined as the "Plan Payments"). The Trustee wi ll make the disbursements from

   the Plan Payments to all Allowed Class 3 Claimants. Debtor wi ll satisfy Class 1 and 2 from

   Debtor' s deductions from disposable income provided under 11 U .S.C. § 11 9 1(d)( l ) or (2) or from

   other sources. By way of further explanation, the Plan Payments shall be used to satisfy Class 3

   Allowed Claims - and authorized administrative or post-confirmation expenses, to the exclusion

   of payments fo r Class 1 and Class 2 payments on allowed claims, which will be paid by Reagan,

   individually, and not from funds earmarked fo r Plan Payments.




   4844-7799-2939. I -2384-7658. I                       8
20-11161-tmd Doc#165 Filed 05/24/21 Entered 05/24/21 15:09:32 Main Document Pg 9 of
                                        48



            2.08.     The analysis of the five-year projected disposable income of$3,020,253 is set forth

  111   Exhibit "A", and includes all community income. Janet Reagan, the Debtor's non-filing

  spouse, has persistent medical issues relating to a diagnosis of cervical spondylosis and stenosis

  with myelopathy.            These issues prevent her from performing normal chores and functional

  activities. As a result, the proj ected monthly household expenses include reasonable sum s for her

  medical, domestic and household assistance.

            2.09.     The percentage distribution to each Class 3 creditor is not yet certain, given that

  certain of the C laims are the subject of pending objections, and are subject to an allowance and/or

   estimation process . 1 Attached as Exhibit "C" is the current listing of claims fi led and scheduled;

   Debtor believes several of the claims are subject to objection.                    In particular, certain of the

   underlying claims on which a guaranty exists are being paid, and others include amounts which

   are not recoverable under the guaranty and/or the underlying obligation.

                                                    ARTICLE III

         MEANS OF IMPLEMENTATION AND ABILITY TO MAKE PLAN PAYMENTS

            3.01.      The means necessary for the execution of the Debtor's Plan includes the

   continuation of the Debtor's business, except for the limited partnership that owns the Wyndham

   Garden Hotel, which property is under receivership with a sale under active negotiation between

   the property's lender and an unrelated prospective purchaser.

             3 .02.    Continuation of the Debtor's Business. The Debtor, as reorganized, will retain all

   property of the Estate. The retained property, excepting the interest in the Wyndham Garden, shall

   be used and employed by the Debtor in the continuance of his business. Of note is Debtor's intent

   to recast, restart and restore the Flix businesses to sound financial condition in order that their


   1 Ce1tain cred itors have claims directly against entities that have debt obligations to those creditors which were the

   subject of the Debtor's guaranty agreements, and may have recoveries directly from those entities.



   4844-7799-2939. l-2384-7658. I                            9
20-11161-tmd Doc#165 Filed 05/24/21 Entered 05/24/21 15:09:32 Main Document Pg 10
                                      of 48



  recast debts and obligations are satisfied by the respective business as same come due. Many of

  those Flix debts and obligations are the same as were guaranteed by the Debtor and are the basis

  for unsecured Creditor Claims herein. Potentially enhancing the abi lity of Flix to meet its general

  obligations is a federal program called the "Shuttered Venue Operators Grant" ("SVOG"), for

  which Flix is eligible and has applied. If and to the extent Debtor' s intent with respect to Flix is

  realized, Creditors with Flix-related Claims should significantly benefit.

           3.03.     Reagan Note. Pursuant to an Order dated May 24, 2021 , the Bankruptcy Court

  approved a loan from the Debtor to Flix Entertainment LLC in the principal amount of

  $ 1,000,000.00 (the "Reagan Note"), the source of which is liquidation of marketable securities.

  The proceeds of the Reagan Note will be utilized by Flix to start the re-opening process described

  in Section 3 .02 above; the funding is necessary because of the uncertain timing of the receipt of

  funds under the SVOG program. The Reagan Note will be repaid from the second tranche of funds

  received by Flix under the SVOG program and is due in full (if not paid before) on December 3 1,

  2021. As provided by Section 3.07, funding of Plan Payments is not dependent upon receipt of

  payments under the Reagan Note.

            3.04.     Funding Sources. The Debtor shall fund the accelerated Plan payments to Class 3

  Allowed claims from a combination of (a) unsecmed borrowings from relatives and family entities,

  the terms of which loans have been agreed upon; (b) selective dispositions of non-business

  monetary assets such as marketable securities; (c) payments received on the Reagan Note, and (d)

  disposable income generated during the Payment Period. Debtor will fund payments for Class I

  and Class 2 secured creditors from sources other than Plan Payments. Debtor will pay all ad

  valorem tax obligation and will be responsible for any pre-confirmation IRS obligations which

  Debtor will satisfy from sources other than Plan Payments, as defined herein.




  4844-7799-2939. 1-2384-7658. I                     10
20-11161-tmd Doc#165 Filed 05/24/21 Entered 05/24/21 15:09:32 Main Document Pg 11
                                      of 48



           3.05.     Advance Payment of Claims. Debtor does not intend to make advance payments on

  Claims. In the event of confirmation under Code Section 11 91 (b), all Claims disbursements are to

  be made by the Trustee as provided in Section 3.07. However, in Debtor's business judgment and

  discretion, Debtor 's businesses (including the Wyndham Garden partnership if and to the extent

  of any liquidation proceeds) may directly or indirectly make various payments of their obligations,

  in advance or o therwise, over the balance of the Payment Period. Such payments by businesses or

  other third parties could result in an adjustment of a Creditor's Pro Rata or Allowable Claim as

  provided by Section 9.03.

           3.06.     Consensual Post-confirmation Modification. Notwithstanding any provision set

  forth in this Plan, the Debtor and any particular C reditor provided for in this Plan may enter into

  any agreement(s) after confirmation w hich modifies that Creditor's treatment and payment terms,

  so long as such agreement is reduced to writing and signed by the Debtor's and consenting

  Creditor's authorized representatives, does not provide for treatment which provides a pro rata

  recovery under this Plan better than the creditors in the same class, does not reduce the amount or

  delay the timing of payments to any other Creditor, and is consented to by the Trustee in the

  exercise of his reasonable business and legal j udgment, in the event of confirmation under Code

  Section 11 9 l (b). Any such mod ified agreement shall be deemed to supersede the terms of this

  Plan.

            3.07.     If and to the extent necessary to fund Plan Payments in the event of a deficit in

  amounts necessary to make Plan payments, the Debtor wi ll liquidate investments to provide

  funding. Additionally, to secure Debtor's payment obligations to Class 3 Claimants due after the

  Effective Date (initially $ 1,5 10, 126), a fam ily trust established by the will of the Debtor's late

  father, the sole beneficiary of which is Debtor's nephew, will pledge two brokerage accounts




  4844-7799-2939. J-2384-7658. 1                      11
20-11161-tmd Doc#165 Filed 05/24/21 Entered 05/24/21 15:09:32 Main Document Pg 12
                                      of 48



  holding unencumbered marketable securities having a market value greater than such remaining

  payments.

            3.08.      Payments by Trustee in the event of confirmation pursuant to 11 U.S.C. §l 19l (b).

  In the event of confirmation under Section 1191 (b), Trustee will act as disbursing agent and Debtor

  shall remit the Plan payments reflected on Exhibit "A" to the Trustee on each Payment Due Date

  for distribution to creditors.

            3.09.      Subchapter V Trustee. The Trustee shal l serve as Subchapter V Trustee and as the

  disbursing agent under the Plan after confirmation under Code Section 1191(b). The Trustee shall

  perform all those duties provided to the Trustee pursuant to the Confirmed Plan. Distributions to

  Class 3 Creditors are to be made in accordance with the fo llowing procedures:

            a.         During the Payment Period, the Trustee shall make all payments of distributions to
                       creditors from the Plan payments. Such rem ittances shall occur no less frequently
                       than fi fteen ( 15) days after the first day of each month fol lowing receipt of a Plan
                       payment from the Reorganized Debtor (a "Dividend Payment"). The Trustee shall
                       make such distri butions out from an account to be established by the Trustee at an
                       institution on the approved U.S. Trustee depository li st account, which shall be
                       maintained by the Trustee for the duration of the Payment Period until Plan
                       consummation fo llowing the final payment required under the Plan (the "Trustee
                       Account").

             b.         Disbursements to Allowed Claimants. As soon as is reasonably practicable after the
                        Effective Date, the Trustee shall initiate disbursement of Plan payments from the
                        Trustee Account, less amounts reserved for the Trustee· s fees and expenses, to the
                        holders of Allowed Class 3 Claims on a pro rata basis based on the total amount of
                        Allowed Claims. For the avo idance of doubt, the disbursement to holders of
                        Allowed Claims will be reduced in an amount equal to the Trustee's fees and costs
                        incurred as Trustee and allowed in accordance with subparagraph (k) herein. The
                        Reorganized Debtor shall provide a list of claims, including Allowed Claims and
                        di sputed claims to the Trustee on or about the same time when fund s are delivered
                        directing the Trustee which claims are "allowed claims" entitled to di stribution,
                        which claims are unresolved requiring the Trustee to withhold funds as required in
                        subparagraph (e) herein and which claims constitute disallowed claims entitled to
                        no di stribution. Trustee shal 1 not make payments on Class 1 or Class 2 allowed
                        claims. or ad valorem tax claims, or any pre-confirmati on IRS claim out of Plan
                        Payments as defined herein.




   4844-7799-2939. l-2384 -7658. I                        12
20-11161-tmd Doc#165 Filed 05/24/21 Entered 05/24/21 15:09:32 Main Document Pg 13
                                      of 48



           c.        Addresses fo r Disbursements. Disbursements shall occur by check drawn on the
                     Trustee Account and may be delivered by the Trustee to (i) the address fo r payment
                     set forth on a proof of claim filed by the Holder or its authorized agent, (ii) at the
                     address set forth in any written notices of change of address delivered to the Trustee
                     at Michael G. Colvard, Martin & Drought, P.C., 11 2 East Pecan Street, Suite 1616,
                     San Antonio, TX 78205, or (iii) if the Holder has not fi led a proof of claim or
                     otherwise provided the Trustee with notice of its address, in the address set forth in
                     the applicable schedule fi led by the Reorganized Debtors in this case. If any
                     distribution to a Holder of an Allowed Unsecured Claim is returned to the Trustee
                     as undeliverable, no further distributions shall be made to such Holder unless and
                     until the Trustee is notified in writi ng of such Holder's then-current address or other
                     necessary information for delivery, at which time all currentl y due missed
                     distributions shall be made to such Holder as soon as practicable. Undeliverable
                     di stributions shall remain in the possession of the Trustee until such time as a
                     di stribution becomes deliverable and shall not be supplemented with any interest,
                     dividends or other accruals of any kind. If, despite reasonable effort, the Trustee is
                     unable to obtain the information necessary to deliver a distribut ion within six
                     months fo llowing the return of the undeliverable distribution, the Trustee shall be
                     authorized to treat such Holder's current and future claims as an Unclai med
                      Distribution (defined below).

           cl.        No Fractional Disbursements. Notwithstanding anything contained herein to the
                      contrary, payments of fractional dollars will not be made. Whenever any payment
                      of a fraction of a dollar under the Plan would otherwise be called for, the actual
                      payment made will reflect a round ing down of such fract ions.

           e.         Withholding Requirements. In order to receive a distribution from the post-
                      confirmation estate, a Holder must return to the Trustee an executed W-9 or W-
                      SBEN form , and any other information necessary to comply with any withholding
                      requirements of any governmental unit, as required under the Plan. If a Holder fails
                      to provide such information after two written requests (which requests may be made
                      via electronic mail) and following the expiration of six months from the initial
                      request, such any current and future claims of such J-lolder to the Class Three
                      Dividend shall be treated as an Unclaimed Distribution (defined below).

            f.        Time Bar to Cash Distributions. Holders of Allowed Claims shall have 120 days
                      from the date of issuance to negotiate a check issued by the Trustee on account of
                      distribution. If a Holder fail s to negotiate a disbursement check wi thin this 120-day
                      period, the Trustee shall have the right to void the check, and any current and future
                      claims of such Holder to the Dividend shall be treated as an Unclaimed Distribution
                      (defined below).

            g.         Unclaimed Distributions and Reversion. Any distribution made by the Subchapter
                       Trustee to a Holder of an Allowed Clai m under this paragraph that is undeliverable
                       fo r more than six months for lack of address, cannot be made on account of such
                       Holder's fa ilure to comply with the Withholding Requirements set forth in



  4844-7799-2939. I-2384-7658. l                         13
20-11161-tmd Doc#165 Filed 05/24/21 Entered 05/24/21 15:09:32 Main Document Pg 14
                                      of 48



                      subparagraph (e) above, or has not been negotiated w ithin 120 days from the date
                      of issuance on the distribution check shall become an "Unclaimed Distri bution."
                      U nclaimed Distributions shall be deemed uncla imed property under section 34 7(d)
                      of the Bankruptcy Code and shall revest w ith the Reorganized D ebtors and held by
                      the Trustee within the Trustee Account. T he C laim of any Ho lder or its successors
                      with respect to such property shall be cancell ed, di scharged, and forever barred
                      notwithstanding any applicable federal or state escheat, abandoned or unclaimed
                      property laws, o r any provisions in any document governing the distribution that is
                      an Unclaimed Distribution, to the contrary. Unclaimed Distributions shall be
                      distributed by the Trustee to the remaining Ho lders of A llowed Claims, which
                      distribution shall be effectuated thro ugh the subsequent d istributio ns provided for
                      under the Plan as if the C laim underlying such Unclaimed Distribution had been
                      d isallowed.

            h.        No Liability. Following entry of the Confirmation Order, any di sbursements made
                      by the Trustee on account of a Claim are deemed authorized disbursements, and
                      the Trustee shall have no liability for these disbursements. The Trustee's obli gations
                      are limited to acting as the disbursement agent under the Plan, and the Trustee shall
                      have no liability to any person in the event that the Reorganized D ebtor fails to
                      timely deliver payments to the Trustee, o r otherwise fails to perform its obligations
                      under the Plan. The Trustee shall have no obligatio n to d isburse Dividend Payments
                      unless and until he determines that there are adequate funds in the Trustee Account
                      to cover a distribution to Ho lders, net of the Trustee's fees and costs. The Trustee
                      shall not have any obligati ons to pursue and/or manage the Reorganized Debtors'
                      pursuit of Causes of Action.

            1.         Reporting. The Trustee shall file all repo rts req uired by the United States T rustee
                       in the manner prescribed by the United States T rustee Program. Upon the
                       completio n of the Plan, the Trustee shall fil e hi s final report and seek a discharge
                       of his duties as Trustee.

            J-         Notices. The Trustee may limit notice of any and all re ports, documents, pleadings
                       or other fi lings related to this case to those parties directly affected and to those
                       interested parties w hich have filed a notice of appearance or proofs of claim, as
                       necessary. The Trustee shall be under no obli gation to serve parties which are
                       neither affected by any report, document, pleading or other filin g or have made no
                       appearance whatsoever before this Court.

             k.        Post-Confirmati on Fees and Expenses of the Trustee. The Trustee shall be entitled
                       to recoup reasonable fees and costs incurred perfo rming hi s o bligations as Trustee
                       under th is paragraph from the Plan Payments by submitting a fee and expense
                       statement to the Reorganized Debtors, the Office of the United States Trustee, and
                       Ho lders of A llowed C laims (the "Notice Parties"). The Trustee shall be
                       compensated for his post-confirmation duties at his no rmal hourl y rate and shalI be
                       paid from the amounts paid by the De btor fo r Plan Payments. The am ount
                       di stributed or reserved to creditors will be net of the amounts rem itted by the



   4844-7799-2939. l-2384-7658. I                         14
20-11161-tmd Doc#165 Filed 05/24/21 Entered 05/24/21 15:09:32 Main Document Pg 15
                                      of 48



                     Reorganized Debtor to the Trustee. The Trustee's fees and expense shal l be
                     di sc losed in the quarterly report fil ed with the Court. All parties in interest wi ll have
                     21 days after the quarterly report is fil ed to object to the Trustee's fees and expenses
                     disclosed therein. If no objection is received, the Trustee may disburse his fees and
                     expenses from the Plan Payments without further order of the Court.

           I.        Distri butions by the Trustee on Disputed Claims. Except as otherwise provided in
                     the Plan, no partial distri butions will be made with respect to a Disputed Claim until
                     the resolution of such dispute by settlement or Final Order. Unless otherwise agreed
                     to by the Reorganized Debtors or as otherwise specifical ly provided in the Plan, a
                     Holder who holds both an Allowed Claim and a Disputed Claim will not receive a
                     distribution until such dispute is resolved by settlement or Final Order. The
                     provisions of this section are not intended to restrict payment of any Allowed
                     Unsecured Claims which are not di sputed. Unti l a disputed claim is resolved,
                     payment distributions to claimants holding disputed claims will be retained by the
                     Trustee subject to a final resolution of the Disputed Claim. Upon resolution in favor
                     of the Allowed Claim the Trustee will distribute withheld funds within the next
                      Payment Period. If the Disputed Claim is disallowed, the Trustee will make
                     withheld funds available to allowed claim ho lders within the next payment period.

           m.         Add itional Post-Confirmation Duties of the Trustee. In addition to the duties set
                      forth above and as set forth under 11 U.S.C. § 1183, duties of the Trustee include
                      those relating to:

                      1.           Monitoring the collateral value of marketable securities and other assets
                                   pledged as security for Plan payments. to the extent of the remaining Plan
                                   payments;

                      11.          Review and approval of any process for or in relation to obtaining any post-
                                   petition loan (other than the loans to make the Plan Payments) that is
                                   secured by a security interest on property of the Estate, if the projected
                                   income from the property is required to fund fu ture Plan payments;

                      iii .        The right to appear and be heard in any post-confirmation heari ng in relation
                                   to any issue arising within the post-confirmation affairs of the reorganized
                                   Debtor;

                      1v.          Right to acquire required bond ing, which costs are to be satisfied out of
                                   Debtor's Plan Payments under 11 U.S.C. § 11 9 I (cl);

                      v11.         Other matters reasonably necessary to ensure that the Plan Payments
                                   are made on a fu ll and timely basis, and fi ling ofa final report.




  4844-7799-2939. l-2384-7658. I                             15
20-11161-tmd Doc#165 Filed 05/24/21 Entered 05/24/21 15:09:32 Main Document Pg 16
                                      of 48



                                                 ARTICLE IV

                                          LIQUIDATION ANALYSIS

            4.0 I.     To confirm the Plan, the Court must find that all creditors and equity interest

  ho lders who do not accept the Plan wi ll receive at least as much under the Plan as such claim and

  equity interest holders would receive in a Chapter 7 liquidation. A liquidation analysis is attached

  to the Plan as Exhibit "B". As set forth, the accelerated Plan payments clearly exceed the expected

  proceeds from liquidation of assets and are highly probable of being full y funded and distributed

  to Creditors significantly sooner than liquidation proceeds.

                                                  ARTICLE V

                                           UNCLASSIFIED CLAIMS

            5.01.      Administrative Expenses. Administrative Expenses shall be paid the full amount

  of their A llowed C laim(s) on the Effective Date or upon entry of an order allowing the

  administrative expense or as agreed to between the Debtor, the Trustee, as applicable, and the

  holder of such Claim. T he deadline for filing a claim for an administrative expense including all

  professional fee applications shall be 30 days from the date of entry of the Confirmation Order.

  T he estimated Administrative Claims are those w hich will be owed to Debtor' s counsel and to

  De btor's financial advisor, HMP Advisory Holdings, LLC dba Harney Partners, and any amounts

  owed to the Trustee.             Payments on allowed Administrative C laims shall come from funds

  earmarked for Plan Payments, as defined herein.

            5.02.      Priority Tax Claims. Debtor is not aware of any threatened or asserted Priority

  Tax C laims. To the extent they exist, pre-petition claims held by governmental units of the type

  described in §507(a)(8) of the Bankruptcy Code wi ll be paid in full , with interest at an annual rate

  of 12% in equal month ly installments over a period beginning 30 days after the Effective Date of




  4844-7799-2939. l-2384-7658. I                       16
20-11161-tmd Doc#165 Filed 05/24/21 Entered 05/24/21 15:09:32 Main Document Pg 17
                                      of 48



  the Plan and ending five years after the date of the filing of the petition. Notwithstanding the

  fo regoing treatment, any holder of a §507(a)(8) claim may file a written e lection to be treated on

  the same basis as any nonpriority unsecured claim. Any such election must be filed in writing not

  later than 14 days after entry of the order confirming the plan. A ll Priority Tax Claims shall be

  satisfied by Reagan from sources other than Plan Payments, as defined herein.

                                                   ARTICLE VI

                                       CLASSIFICATION OF CLAIMS

             6.01.     Class 1: The A llowed Secured C laims of Ford Moto r Credit and Wells Fargo Auto

  Finance.

             6.02      Class 2: The A llowed Secured C laim of Interactive Brokers, LLC

             6.02.     Class 3:    All Allowed Unsecured C laims of creditors with claims against the

  De btor.

             6.03.     Class 4: A llowed C laims of Insiders or Affi liates.

                                                  ARTICLE VU

                                          TREATMENT OF CLAIMS

             7.01.     Class 1: Unimpaired. The A llowed Secured Claims of Ford Motor Credit and

  Wel ls Fargo Auto Finance will be paid in full according to the terms of the financing agreement,

  and the creditor shall retain its lien - with such payments being made by Reagan using sources

  other than Plan Payments, as defined herein.

             7.02.     Class 2. Unimpaired. The A llowed Secured Claim of Interactive Brokers, LLC

  will be paid in full according to its terms and the creditor shall reta in its lien - with such payments

  being made by Reagan using sources other than Plan Payments, as defined herein.




  4844-7799-2939. l-2384-7658. I                         17
20-11161-tmd Doc#165 Filed 05/24/21 Entered 05/24/21 15:09:32 Main Document Pg 18
                                      of 48



            7.03.      C lass 3: Impaired. All Allowed Unsecured Claims shall receive their pro rata share

  of Plan Payments after deduction for the Trustee's costs and other administrative expenses as

  allowed herein.

            7.04.      Class 4: Impaired. No Insiders or Affiliates shall receive Plan Payments.

                                                ARTICLE VIII

                         EXECUTORY CONTRACTS AND UNEXPIRED LEASES

            8.01.      All executory contracts or unexpired leases, not otherwise explicitly assumed or

  rejected by the Debtor prior to confirmation of the Plan, are rejected by the Debtor under the Plan

  as of the Effective Date, except as otherwise prov ided under "Treatment of C laims" in the Plan.

  Debtor will file a list of contracts to be assumed prior to the confirmation hearing.

            8.02.      A proof of a claim arising from the rejection of an executory contract or unexpired

  lease must be filed no later than thirty (30) days after the date of the order confirming this Plan.

                                                 ARTICLE IX

                         PROCEDURE FOR RESOLVING CONTESTED CLAIMS

            9.0 I.     Filing Objections. Debtor shall be responsible for preparing, filing and prosecuting

  obj ections to claims or motion(s) to estimate cla ims for allowance. Objections to claims may be

  fil ed with the Bankruptcy Court and served upon each holder of the claims to which objections are

  fi led not later than ninety (90) days after the Confirmation Date unless such time is extended by

  order of the Court. No distribution will be made on account of a disputed claim unless and until

  such claim is aJlowed.

            9.02.      Prosecution of Objections. The Debtor wi ll have the power and authority to settle

  and compromise a disputed claim with court approval and compliance with Rule 9019 of the

  Federal Rules of Bankruptcy Procedure.




  4844-7799-2939. l-2384-7658. I                        18
20-11161-tmd Doc#165 Filed 05/24/21 Entered 05/24/21 15:09:32 Main Document Pg 19
                                      of 48



            9.03       Payments by Third Parties.        Any C laim w ill be deemed reduced and/or

  disallowed, as appl icable, w ithout a claim objection having to be filed by the Debtor and without

  any further notice, action o r order of the Bankruptcy Court, to the extent that the holder of such

  Claim (a) receives cumulative payment in full of the A llowable Claim from Debtor and/or a person

  or entity which is not the Debtor, or any combination thereof, or (b) receives partial payment on

  account of such C laim from a person or entity which is not the De btor prior to the date o n w hich

  the Claim Pro Rata is determined, or (c) receives a written notice of such proposed reduction or

  disallowance from the Debtor in accordance with the provisions of this paragraph, and does not

  object in writing to the proposed reduction or disallowance set forth in such notice within twenty

  (2 1) days from service of such notice. To the extent a Holder of a C laim receives, o n account of

  such C laim, both a distribution under the Plan and a payment from a person or entity that is not

  the Debtor on account of such C laim and together such payments exceed the Allowable Claim, the

  Debtor may serve a notice of such excess or duplicative payment and such Holder must, w ithin 2 1

  days of receipt thereof, either (a) repay or return the distributio n received under the Plan to Debtor

  or to the Trustee if Plan Payment was received on account of such claim, but only to the extent

  that the Holder of such C laim received payment on account of such Claim in an amount greater

  than the total amount that the ho lder of such C laim was owed on account of such Claim (for

  purposes of this provision, the total amount owed on account of such C laim shall be w ithout regard

  to any limitations in the Bankruptcy Code and/ or statutory cap, such as, for exam ple, the cap

  provided fo r under section 502(b)(6) of the Bankruptcy Code), or (b) fi le and serve on the Debtor

  an objection setting forth the basis upon which the Holder of such C laim should not be required to

  return the am ounts set forth in the notice received by such Holder. This Section 9.03 shall not limit,

  reduce, alter or otherwise modi fy in any way any obl igations of any non-Debtor obligor or




  4844-7799-2939. l-2384-7658. I                    19
20-11161-tmd Doc#165 Filed 05/24/21 Entered 05/24/21 15:09:32 Main Document Pg 20
                                      of 48



  guarantor with respect to any payment assurances arisi ng under or relating to executory contracts

  and unexpired leases, whether or not rejected by Debtor in accordance w ith Sectio n 8.0 I of this

  Plan.

                                                  ARTICLEX

                                      MISCELLANEOUS PROVISIONS

             I 0.0 I. Vesting of Assets : O n the Effective Date, title to all assets and properties dealt with

  by the Plan shall remain property of the Estate unti l such time as all Plan Payments are made, at

  which time all assets and properties dealt with by the Plan shall vest in the Reorganized Debtor

  free and clear of all Claims and Interests other than any contractual secured cla ims granted under

  any lending agreement. If the Reorganized Debtor defaults in performing under the provisions of

  this Plan and this case is converted to a case under chapter 7, all property vested in the Reorganized

  Debtor and all subsequently acquired property owned as of or after the conversion date shall re-

  vest and constitute property of the bankruptcy estate in the converted case.

             10.02. Retention of Jurisdiction : U nder Sections 105(a) and 1142 of the Bankruptcy

  Code, and notwithstanding entry of the Confirmation Order and the occurrence of the Effective

  Date, the Bankruptcy Court shall retain exclusive jurisdiction over all matters arising out of, and

  re lated to, the Chapter 11 Case and this Plan to the full est extent permitted by law, including,

  among other things, jurisdiction to:

             a.        allow, disallow, determine, subordinate, litigate, liquidate, classify, estimate or
                       establish the priority or secured or unsecured status of any Claim o r Equity Interest
                       (whether filed before or after the Effective Date and w hether o r not contingent,
                       Disputed or unliquidated or for contributio n, indemnification or reimbursement),
                       including the compromise, settlement and reso lution of any request for payment of
                       any Administrative Expense Claim or Priority Claim, the resolution of any
                       Objections to the allowance or priority of Claims or Equity Interests and to hear
                       and determine any other issue presented hereby or ari sing hereunder, including
                       during the pendency of any appeal relating to any Objection to such Claim or Equity
                       Interest to the extent permitted under appli cable law;



  4844-7799-2939. 1-2384- 7658. I                       20
20-11161-tmd Doc#165 Filed 05/24/21 Entered 05/24/21 15:09:32 Main Document Pg 21
                                      of 48



            b.         grant o r deny any applications for allowance of compensation or reimbursement of
                       expenses authorized pursuant to the Bankruptcy Code o r this Plan;

            c.         hear and determine any and all adversary proceed ings (including the Declaratory
                       Action), motions, applications, and contested or litigated matters, including, but not
                       limited to, all causes of action, and consider and act upon the com promise and
                       settlement of any C laim, or cause of action ;

            d.         determine and resolve any matters related to the assumption, assumption and
                       assignment or rejection of any executory contract o r unexpired lease to wh ich the
                       De btor is or was a party, o r w ith respect to which the D ebtor may be liable, and to
                       hear, determine and, if necessary, liquidate any C laims arising therefrom;

            e.         ensure that a ll distributions to holders of A llowed C laims under this Plan and the
                       performance of the provisions of this Plan are accomplished as provided herein and
                       resolve any issues relating to distributions to ho lders of A llowed C laims pursuant
                       to the provisions of this Plan;

            f.         construe, take any action and issue such orders, prior to and following the
                       Confirmation Date and consistent w ith Section 1142 of the Bankruptcy Code, as
                       may be necessary for the enforcement, implementation, execution and
                       consummatio n of this Plan and all contracts, instruments, releases, other
                       agreements or documents created in connection with this Plan, including, w ithout
                       limitation, the Confirmation Order, fo r the maintenance of the integrity of this Plan
                       in accordance with Sections 524 and 11 4 1 of the Bankruptcy Code fo llowing the
                       occurrence of the Effecti ve Date;

            g.         determine and resolve any cases, controversies, suits or disputes that may arise in
                       connectio n w ith the consummation, interpretation, implementation or enforcement
                       of this Plan (and all exhibits and schedules to this Plan) o r the Confirmation Order,
                       including the indemnification and injunction provisio ns set fo rth in and
                       contemplated by this Plan or the Confirmation Order, or any entity' s rights arising
                       under or obli gations incurred in connection therewith;

            h.         modify this Plan before or after the Effective Date pursuant to Section 11 27 of the
                       Bankruptcy Code or modify the Confirmation Order or any contract, instrument,
                       release, or other agreement or document created in connection with the Plan or the
                       Confirmatio n Order, or remedy an y defect o r omissio n o r reconcil e any
                       inconsistency in any Bankruptcy Court order, this P lan, the Confirmation Order or
                       any contract, instrument, release, o r other agreement or document created in
                       connection w ith this Plan or the Confirm ation Order, in such manner as may be
                       necessary or appropriate to consummate this Plan, to the extent authorized by the
                       Bankruptcy Code and this Plan;

            1.         issue injunctions, enter and implement other orders or take such o ther actions as
                       may be necessary or appropri ate to restrain interference by any entity with




  4844-7799-2939. l-2384-7658. I                         21
20-11161-tmd Doc#165 Filed 05/24/21 Entered 05/24/21 15:09:32 Main Document Pg 22
                                      of 48



                        consummation, implementation or enforcement of this Plan or the Confirmation
                        Order;

             J.         enter and implement such orders as are necessary or appropriate if the Confirmation
                        Order is for any reason modified, stayed, reversed, revoked o r vacated;

             k.         determine any other matters that may arise in connection with or relating to this
                        Plan and the Confirmation Order or any contract, instrument, release, o r other
                        agreement or document created in connection with this Plan or the Confirmation
                        Order;

             I.         determine such other matters and for such other purposes as may be provided in the
                        Confirmation Order;

             m.         hear and determine matters concerning state, local and federal taxes in accordance
                        with Sections 346, 505 and 1146 of the Bankruptcy Code;

             n.         enforce all orders, judgments, injunctions, releases, exculpations, indemnifications
                        and rulings entered in connection w ith the Chapter 11 Case;

             o.         determine and resolve controversies related to the Estate or the Debtor from and
                        after the Effective Date;

             p.         hear and determine any other matter relating to this Plan; and

             q.         enter a final decree closing this Chapter 11 Case.

             I 0.03. Adversary Proceedings and Retained Claims: The Debtor reserves the right to

  begin or continue any ad versary proceedings permitted under Title 11 , United States Code and the

  applicable Federal Rules of Bankruptcy Procedure. Debtor reserves all claims against any party,

  including but not limited to preference actions under Section 547 of the Bankruptcy Code,

  fraudulent conveyance claims under Section 548 of the Bankruptcy Code and applicable state law

  (including Uniform Fraudulent Conveyance Act claims), setoff and recoupment rights, and federa l

  and state law causes of action

             I 0.04. Valuation of Secured Claims: All Secured Claims shall be allowed in an amount

  as agreed to by the Debtor and the Creditor holding the Secured C laim, as provided by this Plan,

  or as ordered by the Court pursuant to § 506. The Court shall not be required to determine the

  amount of a Secured Claim unless a motion to require such determination is filed at least ten (10)


  -1844-7799-2939. I -2384-7658. I                       22
20-11161-tmd Doc#165 Filed 05/24/21 Entered 05/24/21 15:09:32 Main Document Pg 23
                                      of 48



  days prior to the first hearing on confirmation by the Debtor or other party in interest. In the event

  that such a Motion is not filed, the value of the property as set forth in this Plan shall be deemed

  as the court' s finding as to valuation, and, if no value is set forth in this Plan for property against

  which a Creditor claims a lien, or if such Creditor' s claim is treated as unsecured in this Plan, then

  such Creditor's claim shall be deemed an Unsecured Claim.

            10.05. Modification of Plan: This Plan may be modified or corrected upon motion of the

  Debtor pursuant to § 1193 (a) prior to Confirmation. Modifications or corrections may be made

  without additional disclosure provided that the Court finds that the modifications or corrections do

  not adversely affect any Claim or Interest or classes of Claims or Interests. After the Confirmation

  Date, the Debtor, upon o rder of the Court and in accordance with § 1 I 93(b) may remedy any defect

  or omission or reconcile any inconsistencies in the Plan in such a manner as may be necessary to

  carry out the purposes and intent of the Plan.

                                                ARTICLE XI

                       DISCHARGE AND OTHER EFFECTS OF CONFIRMATION

             11 .0 1. Discharge. If the Debtor' s Plan is confirmed under § 1 I 9l(a), on the Effective Date

  of the Plan, the Debtor will be discharged from any debt that arose before confirmation of this

  Plan, to the extent specified in § I 14l (d)( l )(A) of the Code, except that the Debtor w il l not be

  discharged of any debt: (i) imposed by this Plan; or (ii) to the extent provided in § 141 (d)(6). If

  the Debtor's Plan is confirmed under § 119 1(b), confirmation of this Plan does not discharge any

  debt provided for in this Plan until the court grants a discharge on completion of all payments due

  within the first five years of this Plan, or as otherwise provided in § 1192 of the Code. The Debtor

  w ill not be discharged from any debt: (i) o n which the last payment is due after the first five years




   4844 -7799-2939. l-2384-7658. I                     23
20-11161-tmd Doc#165 Filed 05/24/21 Entered 05/24/21 15:09:32 Main Document Pg 24
                                      of 48



  of the Plan, or as otherwise provided in § 11 92; or (ii) excepted from discharge under § 523(a) of

  the Code, except as provided in Rule 4007(c) of the Federal Rules of Bankruptcy Procedure.

             11.02. Tax Liens. Tax liens, if any, survive the plan confirmation, a bankruptcy

  discharge, and di smissal of the case. The liens continue to be enforceable against the Reorganized

  Debtor's property to the extent, priority, and validity such liens were entitled to as of the Petition

  Date and under federa l law.

            11.03. Plan Creates New Obligations. The obligations to creditors that the Debtor

  undertakes in the Confirmed Plan replace those obligations to creditors that existed prior to the

  Effecti ve Date of the Plan. The Debtor's obligations under the Confirmed Plan constitute a binding

  contractual promise that, if not satisfied through performance of the Plan, create a basis for an

  action for breach of contract under Texas law. To the extent a creditor retains a lien under the Plan,

  that credito r retains all rig hts provided by such lien under applicable non-Bankruptcy law.

             I 1.04. Legally Binding Effect. The provisions of this Plan shall bind all C reditors and

  Interest Holders, whether or not they accept this Plan. On and after the Effective Date, all holders

  of C laim s shall be precluded and forever enjo ined from asserting any (i) C laim against the Debto r

  based on any transaction or other activi ty of any kind that occurred prior to the Confirmation Date,

  except as permitted under the Plan.

             I 1.05. Injunction . The entry of the Confirmation Order w ill operate as a general

  resolution with prejudice, as of the Effective Date, of al l pending Legal Proceedings, if any, against

  the Debtor and his assets and properties and any proceedings not yet instituted against the Debtor

  or his assets, except as otherwise provided in the Plan. Except as otherwise expressly provided in

  the P lan or the Confirmatio n Order, all Persons w ho have held, may have held, hold, or may hold

  C laims against the Debtor are permanently enjoined on and after the Effective Date from (a)




  4844-7799-2939. l-2384-7658. I                    24
20-11161-tmd Doc#165 Filed 05/24/21 Entered 05/24/21 15:09:32 Main Document Pg 25
                                      of 48



  commencing or continuing in any manner any action or other proceeding of any kind against the

  Debtor o r his property, w ith respect to any such Claim, (b) the enforcement, attachment, collection

  o r recovery by any manner or means of any judgment, award, decree or o rder with respect to any

  such C laim against the Debtor or his property, (c) creating, perfecting, o r enforcing any

  encumbrance of any kind against the Debtor or his property, with respect to such Claim, (d)

  asserting any right of subrogation of any kind against any obligation due to the Debtor or the

  property of the Debtor or the Estate with respect to any such Claim and ( e) asserting any right of

  setoff or recoupment against the Debtor or the Estate except as specifically permitted by §553 of

  the Bankruptcy Code. U nless otherwise provided in the Plan or by order of the Bankruptcy Court,

  all injunctions or automatic stays provided fo r in these cases pursuant to § 105, if any, or §362 of

  the Bankruptcy Code, or otherwise, and in existence on the Confirmation Date will remain in fu ll

  fo rce and effect until the Effective Date.

                                                       ARTICLE XII

                                                         DEFAULT

             12.0 1. In the event of a non-monetary or monetary default by the Debtor under the Plan,

  the affected Creditor shall provide written notice of such default to:

                                     AlIan L. Reagan
                                     2000 S. Interstate Hwy 35, Ste Q l 1
                                     Round Rock, Texas 7868 1-6942




                                     Mark C. Taylor
                                     Waller Lansden Dortch & Davis, LLP
                                     100 Congress Ave., Ste. 1800
                                     A ustin, Texas 7870 1




   4844-7799-2939. l -2384-7658. I                            25
20-11161-tmd Doc#165 Filed 05/24/21 Entered 05/24/21 15:09:32 Main Document Pg 26
                                      of 48




                                   Michael G. Colvard, Trustee
                                   Weston Centre
                                   11 2 E. Pecan Street, Suite 16 I 6
                                   San Antonio, Texas 78205

  by U nited States certified mail-return receipt requested, and by U nited States first class mail,

  postage prepaid, and by e-mail to Mark C. Taylor, mark.taylor@ wallerlaw.com, AND Allan

  Reagan, alr7868 J@ gmail.com. AND mcolvard@ mdtlaw.com.

            The Debtor shall have thirty (30) days from the earlier to occur of: (i) the date ofreceipt of

  the written notice sent by certified mail, or (ii) the date of receipt of the written notice sent by first

  class mail to cure the default (For the purposes of the written notice by United States fi rst class

  mai l, postage prepaid, such notice will be deemed received five (5) days after depositing the same

  in the U nited States mail). In the event the Debtor does not cure the default within the thirty (30)

  day period provided herein, the affected Creditor or Interest Holder shall be entitled to pursue its

  state and/or federal law remedies - as limited by the P lan - without fu rther notice or hearing before

  the Court.

             12.02. T he Debtor must remain current with respect to all post-petition federa l tax liabi lity,

  including but not limited to making timely federal tax deposits, the timely filing of tax returns and

  the payment of all tax liabilities as required by appl icable law during the term of the Plan . Fai lure

  to remain current with respect to one or more post-petition federal tax liabilities shall constitute an

  event of default under of the plan; however, the Bankruptcy Court shall have no j ur isdiction over

  any tax issues arising after the date of confirmation. There wi ll be no automatic stay or post-

  confirmation injunction with regard to federal tax liabilities accrued after the petition date, and the

  IRS shall be free to co llect any such liabilities in accordance with the provisions of Title 26 of the

  United States Code and other applicable law.



  4844-7799-2939. l-2384-7658. I                             26
20-11161-tmd Doc#165 Filed 05/24/21 Entered 05/24/21 15:09:32 Main Document Pg 27
                                      of 48



            12.03. U pon any final and non-curable default of the Plan by Debtor, a Creditor may

  accelerate its a llowed prepetition and post-petition claims, and any future administrative claims,

  and declare the outstanding amounts of such claims to be immediately due and owing and pursue

  any and all available state and federal rights and remedies as provided by law without further order

  of this Court.

            12.04. In the event the Plan is confirmed pursuant to 11 U .S.C . § 11 9 1(b), the following

  default provisions shall apply : Pursuant to 11 U.S.C. § 1191 (c)(3), in the event that payments are

  not made by the Debtor as required by the Plan and Confirmation O rder, creditors and parties-in-

  interest shall have the right to seek dismissal or conversion of the Bankruptcy Case. Credito rs

  holding liens against specific assets of the Debtor shall also have the right to file a motion for relief

  from the automatic stay. The Bankruptcy Court shall retain jurisdi ction to determine all matters

  related to enforcement of the Plan and Confirmation Order.

                                                  Respectfully submitted,

                                                  W ALLER LANSDEN D ORTCH        & D A VIS, LLP

                                                  By: Isl Mark C. Taylor
                                                     Mark C. Taylor
                                                     StateBar No. 197 13225
                                                     William R. "Trip" N ix
                                                     State Bar No. 24092902
                                                     100 Congress Avenue, Suite 1800
                                                     A ustin, Texas 78701
                                                     (5 12) 685-6400
                                                     (5 12) 685-641 7 (FAX)
                                                     mark.taylor@wallerlaw.com
                                                     trip.nix@wallerlaw.com

                                                   ATTORNEY FOR DEBTOR




   4844-7799-2939. l-2384-7658. I                     27
20-11161-tmd Doc#165 Filed 05/24/21 Entered 05/24/21 15:09:32 Main Document Pg 28
                                      of 48



                                  CERTIFICATE OF SERVICE

          I hereby certify that a true and correct copy of the foregoing document was served upon
  the parties listed below electronically via the Court's ECF system on May 24, 2021 and on al l
  persons on the attached service list via first class mail, on May 25, 202 1.

  Debtor                                              Trustee (via ECF)
  Allan L. Reagan                                     Michael G. Colvard
  2000 S. IH-35, Suite Q 11                           Weston Center
  Round Rock, TX 78681-6942                           112 East Pecan Street, Suite 161 6
                                                      San Antonio, TX 78205

                                                      U.S. Trustee (via ECF)
                                                      United States Trustee
                                                      903 San Jacinto, Room 322
                                                      Austin, TX 78701




                                              Isl Mark C. Taylor
                                              Mark C. Taylor




   4844-7799-2939.1-2384-7658.1                  28
20-11161-tmd Doc#165 Filed 05/24/21 Entered 05/24/21 15:09:32 Main Document Pg 29
                                      of 48



                                         SERVICE LIST

  Debtor
  Allan L. Reagan                               Headley Investments, LP
  585 River Run                                 1500 Knobb Hill Lane
  Leander, TX 78641                             Paoli,PA 1930 1

  Trustee                                       Frances and Wayne Lee
  Michael Colvard                               468 Jade Tree Lane
  Weston Center                                 Monterey Park, CA 9 1754
  11 2 East Pecan Street, Suite I 6 16
  San Antonio, TX 78205                         Capital One Spark Visa for Business
                                                P.O. Box 30285
  Twenty-largest credito rs:                    Salt Lake City, UT 84130-0285
  Madison/East Towne LLC
  c/o CBL & Associates                          Chase Ink Card for Business
  2030 Hamilton Place Blvd.                     P.O. Box 15298
  Chattanooga, TN 3742 1-6000                   Wi lmington, DE 19850-5298

  Village @ La Orilla                           Ford Motor Credit Corp.
  Attn: Philip Lindborg                         P.O. Box 105704
  12809 Donette Court N.E.                      Atlanta, GA 30348
  Albuquerque, NM 87 11 2
                                                Comerica Bank
  Ma11in S. Headley                             Dept. # 16690 I
  1500 Knobb Hill Lane                          P.O. Box 55000
  Paoli,PA 1930 1                               Detroit, MI 48255-1 669

  Comerica Bank                                 Citicard Advantage Mastercard
  Attn: Lesley B. Higginbotham, VP              Cardmember Services
  Special Assets Group - Texas Market           P.O. Box 6062
  P.O. Box 650282                               Sioux Falls, SD 571 17
  Dallas, TX 75265-0282
                                                Discover Card
  Ann E. Headley                                Billing Inquiries
  1500 Knobb Hill Lane                          P.O. Box 30943
  Paoli, PA 1930 1                              Salt Lake City, UT 84130

  Wyndham Franchisor LLC                        Chase Visa Mileage Plus
  22 Sylvan Way                                 P.O. Box 15298
  Parssipany, NJ 07054                          Wilmington, DE 19850-5298

  Spain Family IX LLC                           Comerica Bank
  c/o Patrick J. Spain                          Attn: J.B. Stueckler, AVP
  I 1809 Oak Branch Dr.                         300 W. Sixth Street
  Austin, TX 78737                              Austin, TX 7870 I

  Bennett Living Trust                          Unsecured Creditors/
  Attn: Michael Bennett                         Interested Pa rties
  2321 Abbot Kinney Blvd.                       340 I Hoteliers, LP
  Venice, CA 9029 1                             Attn: Allan Reagan
                                                2000 S. IH-35, Suite QI I
  Gary J. Neumayer                              Round Rock, TX 7868 1
  220 I Berrywood Lane
  Bloomington, IL 6 1704-2449



  038540-04298/4839-4773-4992. I
20-11161-tmd Doc#165 Filed 05/24/21 Entered 05/24/21 15:09:32 Main Document Pg 30
                                      of 48


  83 rd Street Development, LLC           Flix Brewhouse Iowa, LLC
  Attn: Trent G. Moore                    Attn: Allan Reagan
  9000 Cameron Parkway                    2000 S. IH-35, Suite Q 11
  Oklahoma City, OK 73114                 Round Rock, TX 78681

  Action Propane                          Flix Brewhouse NM, LLC
  260 I S. Hwy. 183                       Attn: Allan Reagan
  Leander, TX 78641                       2000 S. IH-35, Suite Q 11
                                          Round Rock, TX 78681
  ADT
  P.O. Box 660418                         Flix Brewhouse OK, LLC
  Dallas, TX 75266                        Attn: Allan Reagan
                                          2000 S. IH-35, Suite Q 11
  Al Clawson Disposal                     Round Rock, TX 7868 1
  P.O.Box416
  Jarrel, TX 76537                        Flix Brewhouse SAT, LLC
                                          Attn: Allan Reagan
  AT&T                                    2000 S. IH-35, Suite Q 11
  P.O. Box 5001                           Round Rock, TX 78681
  Carol Stream, IL 60 I97
                                          Flix Brewhouse III, LLC (Mansfield)
  AT&T (DirectTV)                         Attn: Allan Reagan
  P.O. Box 50 14                          2000 S. IH-35, Suite Q 11
  Carol Stream, IL 60 197                 Round Rock, TX 78681

  Bank of Austin                          Flix Brewhouse Texas IV, LLC
  Attn: David H. Marks, SVP               Attn: Allan Reagan
  8611 N. Mopac Exp., Suite IO I          2000 S. IH-35 , Suite Q 11
  Austin, TX 78759                        Round Rock, TX 78681

  DT Chandler, LLC                        Flix Brewhouse Texas V, LLC
  Attn: Bret Anderson, Manager            Attn: Allan Reagan
  140 E. Rio Salado Parkway, Unit 305     2000 S. IH-35, Suite Q 11
  Tempe, AZ 85281                         Round Rock, TX 78681

  FB Capital, LLC                         Flix Brewhouse TX II, LLC
  Attn: Allan Reagan                      Attn: Allan Reagan
  2000 S. IH-35, Suite Q 11               2000 S. IH-35, Suite Q 11
  Round Rock, TX 78681                    Round Rock, TX 7868 1

  Flix Brewhouse AZ, LLC                  Flix Brewhouse TX IV, LLC
  Attn: Allan Reagan                      Attn: Allan Reagan
  2000 S. IH-35, Suite Q 11               2000 S. IH-35, Suite Q 11
  Round Rock, TX 78681                    Round Rock, TX 78681

  Flix Brewhouse Holdco, LLC              Flix Brewhouse Wi, LLC
  Attn: Allan Reagan                      Attn: Allan Reagan
  2000 S. IH-35, Suite Q 11               2000 S. IH-35, Suite Q 11
  Round Rock, TX 78681                    Round Rock, TX 78681

   Flix Brewhouse Indiana, LLC             Flix Brewhouse, LLC
   Attn: Allan Reagan                      Attn: Allan Reagan
   2000 S. IH-35, Suite Q 11               2000 S. IH-35, Suite Ql I
   Round Rock, TX 7868 1                   Round Rock, TX 78681




   038540-04298/4839-4 773-4992.1
20-11161-tmd Doc#165 Filed 05/24/21 Entered 05/24/21 15:09:32 Main Document Pg 31
                                      of 48



  Flix Entertainment, LLC
  Attn: Allan Reagan                        ROP Artcraft LLC
  2000 S. IH-35, Suite Q I I                Attn: Adam Frank
  Round Rock, TX 78681                      5678 N. mesa St.
                                            El Paso, TX 79912
  GCRE/TX Main Marketplace LLC
  and LCAR Main Market LLC                  Round Rock Business Park, LLC
  Attn: Joseph D. Goveia                    Attn: Allan Reagan
  24855 Del Prado                           2000 S. IH-35, Suite Q 11
  Dana Point, CA 92629                      Round Rock, TX 78681

  Hospitality Investors, Inc.               RPT Realty, L.P.
  Attn: Allan Reagan                        19 W. 44th Street, Suite I 002
  2000 S. IH-35, Suite Q 11                 New York, NY 10036
  Round Rock, TX 7868 1
                                            Securian/Minnesota Life Insurance Co.
  Internal Revenue Services                 c/o Trinity Real Estate Finance
  Centralized Insolvency Office             I 00 NE Loop 410, Suite 972
  P.O. Box 7346                             San Antonio, TX 782 16
  Philadelphia, PA 19101-7346
                                            Southwestern Retai l Properties II, LP
  Janet L. Reagan                           Attn: Allan Reagan
  585 River Run                             2000 S. IH-35, Suite Q 11
  Leander, TX 78641                         Round Rock, TX 78681

  Kathleen R. McCormick                     Southwestern Retail Properties Ill , LP
  680 I Greenwood Ave., Unit 2 10           Attn: Allan Reagan
  Seattle, WA 98103                         2000 S. IH-35 , Suite Q 11
                                            Round Rock, TX 78681
  Lone Star National Bank
  Attn: Sergio Gonzalez, Ist VP             Southwestern Retail Properties LP
  2 100 Boca Chica Blvd.                    Attn: Allan Reagan
  Brownsville, TX 78520                     2000 S. IH-35, Suite Q 11
                                            Round Rock, TX 78681
  Merle Hay Investors LLC
  c/o Abbell Credit Corporation             Spectrum
  30 N. LaSalle St., Suite 2 120            P.O. Box 60074
  Chicago, IL 60602                         City of Industry, CA 91716-0074

  Mikeska Monahan & Peckham, P.C.           UBS Real Estate Securities, Inc.
  100 Congress Ave., Suite 990              c/o Berkadia Commercial Mortgage LLC
  Austin, TX 7870 I                         6955 Union Park Center, Suite 450
                                            Midvale, UT 84047
  Pedernales Electric Company
  P.O. Box I                                U.S. Trustee
  Johnson City, TX 78636                    903 San Jacinto, Suite 230
                                            Austin, TX 7870 I
  Poolwerx by Blue Bottom Pool Supp ly
  302 1 S. IH35, Suite 140                  Wells Fargo Auto
  Round Rock, TX 78664                      MAC T9017-026
                                            P.O. Box 168-48
  Prudential Mortgage Capital Company LLC   Irving, TX 750 I6-8048
  c/o Prudential
  I 00 Mulberry St., Gateway Center 4       Williamson County Tax Office
  8th Floor                                 904 S. Main Street
  Newark, NJ 07 102                         Georgetown, TX 78626



  038540-04298/4839-4 773-4992.1
20-11161-tmd Doc#165 Filed 05/24/21 Entered 05/24/21 15:09:32 Main Document Pg 32
                                      of 48


                                          David M. Blau
  Parties Filing Claims                   Clark Hill PLC
  Discover Bank/ Discover Products        151 S. Old Woodward Ave., Suite 200
  PO Box 3025                             Birmingham, Ml 48009
  New Albany, OH 43054-3025
                                          Ross A. Plourde
  JPMorgan Chase Bank, N .A.              McAfee & Taft
  c/o National Bankruptcy Services LLC    21 1 North Robinson, 8tl1 Floor
  P.O. Box 90 13                          Oklahoma City, OK 73102-7103
  Addison, TX 7500 I
                                          Harrel L. Davis Ill
  Capital One Bank (USA) N.A.             Gordon Davis Johnson & Shane P.C.
  By American ln foSource as agent        4695 N. Mesa Street
  45 15 N. Santa Fe Ave.                  El Paso, TX 799 12
  Oklahoma City, OK 731 18
                                          Daniel M. Eliades/David Catuogno/
  Madison/East Towne, LLC                 Caitlin C. Conklin
  Attn: Caleb T. Holzaepfel               K&L Gates, LLP
  736 Georgia Ave., Ste. 300              One Newark Center, Tenth Floor
  Chattanooga, TN 37402                   I 085 Raymond Boulevard
                                          Newark, NJ 07 I02
  Parties Requesting Notice
  Stephen G. Wilcox                       Jack O'Connor
  Wilcox Law, PLLC                        Sugar Felsenthal Grais & Heisinger LLP
  P.O. Box 20 1849                        30 N. LaSalle St., Suite 3000
  Arlington, TX 76006                     Chicago, IL 60602

  Shane P. Tobin                          William T. Peckham
  Henry G. Hobbs, Jr.                     I I04 Nueces St., Suite I 04
  Acting United States Trustee            Austin, TX 78701-2 106
  903 San Jacinto Blvd., Room 230
  Austin, TX 7870 I                       Stephen K. Lecholop II
                                          Rosenthal Pauerstein
  Kell C. Mercer                          Sandoloski Agather LLP
  Kell C. Mercer, P.C.                    755 East Mulberry, Suite 200
  1602 E. Cesar Chavez Street             San Antonio, TX 782 I2
  Austin, TX 78702
                                          Peter Lindborg
  Robert J. Diehl, Jr.                    550 N. Brand Blvd., Suite I 830
  Jaimee L. Witten                        Glendale, CA 9 1203
  Noel J. Ravenscroft
  Bodman PLC                              Louis D. Lopez
  6th Floor at Ford Field                 Fennemore Craig, P.C.
  190 I St. Antoine Street                2394 E. Camelback Rd., Suite 600
  Detroit, Ml 48226                       Phoenix, AZ 85016

  Bruce J. Zabarauskas                    Richard E. Hettinger
  Thompson & Knight LLP                   Davidson Troilo Ream & Garza, P.C.
  I 722 Routh Street, Suite I 500         601 N.W. Loop 4 10, Suite 100
  Dallas, TX 7520 I                       San Antonio, TX 782 I6

   Michael Flume                          Robert P. Franke
   Flume Law Firm, LLP                    Audrey L. Homisher
   I020 N.E. Loop 410, Suite 530          Clark Hill Strasburger
   San Antonio, TX 78209                  90 I Main St., Suite 6000
                                          Dallas, TX 75202-3794



   038540-04298/4839-4 773-4992. 1
20-11161-tmd Doc#165 Filed 05/24/21 Entered 05/24/21 15:09:32 Main Document Pg 33
                                      of 48




  Stephan A. Roberts
  Clark Hill Strasburger
  720 Brazos Street, Suite 700
  Austin, TX 7870 I

  Tara LeDay
  McCreary Veselka Bragg & Allen PC
  P.O. Box 1269
  Round Rock, TX 78680




   038540-04298/4839-4773-4992. I
20-11161-tmd Doc#165 Filed 05/24/21 Entered 05/24/21 15:09:32 Main Document Pg 34
                                      of 48




                         EXHIBIT A
20-11161-tmd Doc#165 Filed 05/24/21 Entered 05/24/21 15:09:32 Main Document Pg 35
                                      of 48


 Allan L. Reagan, Debtor
 Case #20-1 1161-tmd
 Exhibit A - Financial Projections



 Total Projected Disposable Income over 5 Years:                                                S 3,020,253

 Payments:
  on Effective Date                                                                               1,510,127
  on or before September 30, 2021                                                                   755,063
  on or before December 31 , 2021                                                                   755,063
 Total Payments                                                                                 $ 3,020,253



                                                                    Year 1           Year 2         Year 3           Year 4            Year 5             ....
INCOME
Gross wages                                                     s    140,000     s    142,800 $      145,656 $   148,569 $   151,541                s    728,566
  Tax withholdings                                                   (24,500)         (24,990)       (25,490)    (26,000)    (26,520)                  ( 127,499)
  Retirement contributions                                           (24,000)         (24,000)       (24,000)    (24,000)    (24,000)                  ( 120,000)
  Healthcare premiums                                                 (6,000)          (6,300)        (6,615)     (6,946)     (7,293)                    (33,154)
Net wages                                                             85,500           87,510         89,551      91,624      93,728                    447,913
Dividends and Interest                                               108,965          110,896        110,896     110,896     202,996                    644,649
Distributions                                                        237,383          524,481        669,844   1,197,665     807,427                  3,436,799
Reimbursements                                                         1,980            2,020          2,060       2,101       2,143                      10,304
Total Incom e                                                   $    433,829     $    724,906   $    872,351 $ 1,402,286 $ 1,106,294                $ 4,539,666
CHAPTER 11 ADMINISTRATIVE EXPENSES
Chapter 11 professionals
Subchapter V Trustee
Reserve for Federal Income Tax Liability                                                                             (290,552!         (212,454)         (503,006)
Total Chapter 11 Administrative Expenses                        $                $              $                $   (290,552) $       (212,454)    s    (503,006)
LIVING EXPENSES
 MedicaVTherapy/Prescriptions                                        (30,000)         (30,600)       (31,212)         (31,836)          (32,473)        (156,121 )
 Food, meals, personal care items, household supplies                (24,000)         (24,480)       (24,970)         (25,469)          (25,978)        (124,897)
 Car Payments                                                        (24,1 44)        (24,144)       (24,144)         (24,144)          (24,144)        (120,720)
 Vehide Fuel & Operating Expense                                       (6,000)         (6,120)        (6,242)           (6,367)          (6,495)         (31,224)
 Tolls                                                                 (3,000)         (3,060)        (3,121)           (3,184)          (3,247)         (15,612)
 Property Taxes                                                      (17,052)         (17,905)       (18,800)         (19,740)          (20,727)         (94,223)
 Household & pool maintenance, repairs, parts, HOA                   ( 12,528)        (12,779)       (13,034)         (13,295)          (13,561)         (65,196)
 Lawn services, tree, fencing and irrigation sys. Maintenance        ( 12,000)        (12,240)       (12,485)         ( 12,734)         (12,989)         (62,448)
 Utilities                                                           (11,760)         (11,995)       (12,235)         (12,480)          (12,729)         (61,200)
 Cell Phones                                                           (7,200)         (7,344)        (7,491)           (7,641)          (7,794)         (37,469)
 Telephone, internet, cable, streaming services                        (7,200)         (7,344)        (7,491 )          (7,641)          (7,794)         (37,469)
 Clothing, laundry, and dry deaning                                    (2,820)         (2,876)        (2,934)           (2,993)          (3,052)         (14,675)
 Property Insurance                                                    (3,900)         (3,978)        (4,058)           (4,139)          (4,221)         (20,296)
 Life Insurance                                                        (1,800)         (1,836)        (1,873)           ( 1,910)         (1,948)          (9,367)
 Car Insurance                                                         (3,000)         (3,060)        (3,121)           (3,184)          (3,247)         (15,612)
 Entertainment, recreation, hobbies                                    (6,000)         (6,120)        (6,242)           (6,367)          (6,495)         (31,224)
 Pet Costs - Food and Vet Bills                                        (9,600)         (9,792)        (9,988)         (10,188)          (10,391)         (49,959)
 Gifts                                                                 (1,200)         (1,224)        (1,248)           (1,273)          (1,299)          (6,245)
 Domestic help for spouse                                            p 2,000!         !12,240)       p 2,485)         p2,734)           !12,989)         (62,448)
Total Living Expenses                                           $   (195,204) $      (199,137) $    (203,174 ) $     (207,318) $       (211 ,574)   $ (1,016,407)

FUNDS AVAILABLE FOR DISTRIBUTION TO CREDITORS                   $    238,625     $    525,770   $    669,178     $    904,415      s    682,266     $   3,020,253
20-11161-tmd Doc#165 Filed 05/24/21 Entered 05/24/21 15:09:32 Main Document Pg 36
                                      of 48



Allan L. Reagan, Debtor
Case #20-11161 -tmd
Financial Projections

ROUND ROCK BUSINESS PARK, L P                    Year 1         Year 2          Year 3         Year 4         Year 5
Rental Income                                s 1,492,655    $ 1,507,582     $ 1,573.413    $ 1,604,881    s 1,636,979
Other Operating Income                             3,000          3,000           3,000          3,000          3,000
Total Income                                 $ 1,495,655    $ 1,510,582     $ 1,576,413    $ 1,607,881    $ 1,639 ,979
Reimburseable Expenses
  Property Taxes                                 339,321     356,287     374,101     392,806     412,447
  Insurance                                       32,146      32.146      32,146      32,1 46     32,146
  Water                                           23,812      23,812      23,812      23,812      23,812
    Expense Reimbursement                       (355,751)   (371.02 1)  (399,955)   (417,351)   (435,617)
Net Reimburseable Expenses                        39,528      41 ,225     30,104      31,41 4     32,788
Electricity                                       17,514      17,514      17,51 4     17.51 4     17,514
Repairs & Maintenance                            135,180     135.180     135, t 80   135,180     135,180
SG&A                                              39,490      39,490      39,490      39,490      39,490
Management Fees                                   52,243      52,765      55,069      56,t71      57.294
Total Operating Expenses                         283,954     286. 174    277,357     279.768     282.266
Net Operating Income                         $ 1,211,701 $ 1,224,408 $ 1,299,056 $ 1,328,113 $ 1,357,7 12
Other Income                                       (5,000)        (5,000)          (5,000)       (5,000)        (5,000)
Depreciation & Amortization                       212,040        212,040         212,040        212,040        212,040
Bad Debt Expense                                   24,331         14,927          15.076         15,734         16,049
Interest Expense                                  489.772        489.772         489,772        489.772        489.772
Net Income                                   $    490,558 $      512,669 $       587,167 $      615,566 $      644,851
Plus:
  Depreciation & Amortization                     212,040        212,040         212,040        212.040        212,040
  Bad Debt Expense                                 24,331         14,927          15,076         15.734         16,049
  Capital Expenditures                            (25,000)       (25,000)        (25,000)       (25.000)       (25,000)
  Principal Paydown                              (272.584)      (272,584)       (272,584)      (272,584)      (272,584)
Operating Cash Flo w                         $    429,344 $      442,052 $       516,699 $      545,756 $      575,356
  Balance sheet cash re serve                    (100,000)      (100,000)       (100,000)      (100,000)      (100,000)
  SRP Ill                                        (276,000)
  Reserve for Income Taxes
Free Cash Flow Available for Distributions   $     53,344   $    342,052    $    416,699   $    445,756   $    475,356

Allan L Reagan (78.63%)                            41,944        268.955         327,650        350.498        373,772
APROP (1.00%)                                         533          3,42 1          4,167          4.458          4,754
TOTAL DISTRIBUTONS TO REAGAN COMMUNITY       $     42,478   $    272,376    $    331,817   $    354,956   $    378,526
20-11161-tmd Doc#165 Filed 05/24/21 Entered 05/24/21 15:09:32 Main Document Pg 37
                                      of 48



Allan L. Reagan, Debtor
Case #20-11161-tmd
Financial Projections

SOUTHWESTERN RETAIL PROPERTIES, LP               Year 1          Year 2          Year 3          Year 4           Year 5

Rental Income                                $ 1,384,064     $ 1,535,887     $ 1,694,772     s 1,747,734      $ 1,860,718
Other Operaling Income                             3,000           3,000           3,000           3,000            3,000
Tolal Income                                 $ 1,387,064     $ 1,538,887     $ 1,697,772     $ 1,750,734      $ 1,863,718
Reimburseable Expenses
  Property Taxes                                  497,133         512,047         527,409         543,231          559,528
  Insurance                                        21 ,185         21 ,185         21,185          21,185           21 ,185
  Waler                                            57,905          57,905          57,905          57,905           57,905
    Expense Reimbursement                        (403,356)       (443,352)       (485,198)       (513,41 4)       (542,825)
Net Reimburseable Expenses                        172,867         147,784         121,300         108,906           95,793
Electricity                                         8,995           8,995           8,995           8,995            8,995
Repairs & Maintenance                             142,264         142,264         142,264         142,264          142,264
Tenant Improvements
CLIKworks Operaling Expenses
SG&A                                               18,565         18,936      19,315              19,701           20,095
Management Fees                                    55,363         61,435      67,791              69,909           74.429
Total Operating Expenses                          398,053        379,415     359,665             349,776          341,576
Net Operating Income                         $    989,010    $ 1,159,472 $ 1,338,107         $ 1,400,958      $ 1,522,143
Other Income                                       (5,000)         (5,000)         (5,000)         (5,000)           (5,000)
Depreciation & Amortization                       212,040         212,040         212,040         212,040          21 2,040
Bad Debt Expense                                   48,223          27,681          30,718          33,895           34,955
Interest Expense                                  587,591         587,591         587,591         587,591          587,591
Net Income                                   $    146,157 $       337,160 $       512,759 $       572,432 $        692,557
Plus:
  Depreciation & Amortization                     212,040         212,040         212,040         212,040          212,040
  Capital Expenditures                            (75,000)       (100,000)       (100,000)       (100,000)        (100,000)
  Principal Paydown                              (315,799)       (31 5,799)      (3 15,799)      (315,799)        (315,799)
Operating Cash Flow                          $    (32,602) $      133,401 $       309,000 $       368,673 $        488,798
  Balance sheet cash reserve                      (50,000)        (50,000)        (50,000)        (50,000)         (50,000)
 Financing / Other Cash uses
Free Cash Flow Available for Distributions   $    (82,602) $       83,401    $    259,000    $    318,673     $    438,798
Allan L Reagan (46.24%)                                            38,565         119,762         147,354          202,900
Southwestern Retail Properties, GP (1.00%)                            834           2,590           3,1 87           4,388
TOTAL DISTRIBUTONS TO REAGAN COMMUNITY       $               $     39,399    $    122,352    $    150,541     $    207,288
20-11161-tmd Doc#165 Filed 05/24/21 Entered 05/24/21 15:09:32 Main Document Pg 38
                                      of 48




Allan L. Reagan, Debto r
 Case #20-11161-tmd
 Financial Projections

100 TRINITY LLC                                    Year 1           Year 2            Year 3           Year 4            Year 5
Interest                                       $      2,200    s                  $               s                  $
Dividends                                           159,214          159,214           159,214          159,214           159,214
Notes Receivable                                     43,750           64,688            67,813           70,938            74,063
Total Income Available f or Distributions      s    205,163    $     223,901      $    227,026    s     230,151      $    233,276
Allan L Reagan (95%)                                194,905          212,706           215,675          218,644           221,613
TOTAL DISTRIBUTONS TO REAGAN COMMUNITY         $    194,905    $     212,706      $    21 5,675   $     218,644      $    221,613




Allan L. Reagan, Debto r
Case #20- 11161-lmd
Financial Projections

PRAIRIE POINT ESTATES, INC.                        Year 1     Year 2      Year 3      Year 4     Year 5
Gross Revenue                                  s    270,000    s
                                                              1,804,400 $ 1,867,554 s  817,773 $
Commissions                                         (10,800)    (72,176)    (74,702)   (32,711)
Net Revenue                                    $    259,200 $ 1,732,224 $ 1,792,852 $  785,062 $
Planning, design and approvals                     288,450
Hard construction cost (including amenities)       685,000           425,000           325,000
Management and ovemead                             139,200           104,400            34,800            17,400
Contingency                                        100,000            60,000            20,000            13,050
Cash Interest                                       43,750            62,500            12,500
Total Project Costs                            $ 1,256,400     $     651,900      $    392,300    $       30,450     $
Net Project Cash Flow                          $   (997,200) $ 1,080,324          s   1,400,552   $     754,612      $
Financing Payments
First Mortgage (100 Trinity)                        750,000        (1 ,000,000)       (250,000)
PIK Note - Pri ncipal (Allan Reagan)                                                                  (1,175,000)
PIK Note - Interest (Allan Reagan)                                                                      (257,978)
Equity - Invested Capital (Allan Reagan)                                                                (360,000)
Equity - Capital Gains (Allan Reagan)                                                                   (215,546)
Equity - Invested Capital (Duane Davis)                                                                  (90,000)
Equity - Capital Gains (Duane Davis)                                                                    (11 8,956)
Ending Cash Balance                            $    231 ,992   $     312,316      $ 1,462,868     $                  $
20-11161-tmd Doc#165 Filed 05/24/21 Entered 05/24/21 15:09:32 Main Document Pg 39
                                      of 48




                         EXHIBITB
20-11161-tmd Doc#165 Filed 05/24/21 Entered 05/24/21 15:09:32 Main Document Pg 40
                                      of 48




    LIQUIDATION ANALYSIS



      A. Introduction

    NOTHING CONTAINED IN THE FOLLOWING LIQUIDATION ANALYSIS IS INTENDED TO
    BE OR CONSTITUTES A CONCESSION OR ADMISSION OF THE DEBTOR. THE
    ESTIMATED AMOUNT OF ALLOWED CLAIMS SET FORTH HEREIN SHOULD NOT BE
    RELIED UPON FOR ANY OTHER PURPOSE, INCLUDING ANY DETERMINATION OF THE
    VALUE OF ANY DISTRIBUTION TO BE MADE ON ACCOUNT OF ALLOWED CLAIMS
    UNDER THE PLAN. THE ACTUAL AMOUNT OF ALLOWED CLAIMS IN THESE CASES
    COULD DIFFER MATERIALLY FROM THE ESTIMATED AMOUNTS SET FORTH IN THE
    LIQUIDATION ANALYSIS.

      B. Assumptions

             a.   Methodology & Limitations

                  Dependence on Assumptions - The Liquidation Analysis depends on a number of
                  estimates and assumptions. Although developed and considered reasonable by the Debtor
                  and the Debtor's professionals, the assumptions are inherently subject to significant
                  economic, business, regulatory, public health, and competitive uncertainties and
                  contingencies beyond the control of the Debtor. The Liquidation Analysis is also based on
                  the Debtor's best judgment of how numerous decisions in the liquidation process would be
                  resolved. Accordingly, there can be no assurance that the values reflected in the Liquidation
                  Analysis would be real ized if the Debtor is, in fact, to undergo such a liquidation and actual
                  results could vary materially and adversely from those contained herein.

                  Conversion Date - Liquidation Analysis assumes a Conversion Date of March 31, 2021.

                  Chapter 7 Liquidation Costs - The fees and operating expenses incurred during the
                  chapter 7 process are included in the estimate of Chapter 7 Administrative Claims and
                  chapter 7 trustee professional expenses. In addition, there are liquidation costs associated
                  with most of the Debtor's assets. Costs of liquidation are displayed as a reduction to gross
                  liquidation proceeds.

                  Division of Community Property - Liquidation Analys is assumes the net proceeds of
                  community property is divided between the Debtor and his spouse prior to being made
                  available for distribution to the Debtor's creditors. For the avoidance of doubt, all of the
                  Debtor's assets are considered community assets and the amounts listed in the Assets
                  section of the Liquidation Analysis represent the Debtor's 50% interest in community
                  assets.

      C. Notes on the Liquidation Analysis
            1. Cash on Hand: Estimated cash on hand as of the Conversion Date includes petty cash and
                cash in the Debtor's bank accounts, less outstanding checks.

             2.   Vehicles: The Debtor and his spouse own two cars and two trailers. Two of the cars, a
                  2020 Ford F-250 and a 2020 Ford Explorer were both fi nanced by the Debtor and his
                  spouse and are pledged as collateral for associated loans. In thi s Liquidation Analys is, it is
20-11161-tmd Doc#165 Filed 05/24/21 Entered 05/24/21 15:09:32 Main Document Pg 41
                                      of 48




                      assumed that the financed vehicles are sold and proceeds utilized to pay off the associated
                      loans first. Given the amount of financing, it is unlikely that the Debtor has any equity in
                      these two cars.

                 3.   Marketable Securities: The Debtor has brokerage accounts at Interactive Brokers and
                      Ameriprise that hold various publicly traded equities, mutual funds, and exchange traded
                      funds as well as cash. The Liquidation Analysis assumes a low and high recovery,
                      representing the potential fluctuations in the public equity markets. In the low scenario, the
                      securities are sold at 95% of the closing price as of February 12, 2021. In the high scenario,
                      the securities are sold at I 05% of the closing price as of February 12, 202 1. Proceeds of
                      the sale of these securities are used to repay the Debtor's margin loan from Interactive
                      Brokers. Remaining funds are then split pursuant to the interest in community property.
                      [Changes included in this amended plan represent fluctuations in market prices of the
                      securities.]

                 4.   Investments in and related to Flix Entertainment LLC 1: The Debtor holds both direct
                      and indirect (through feeder funds) interests in Flix Entertai nment LLC a Texas limited
                      liability company and various related entities and affi liates (together "Flix"), and presently
                      serves as its Board Chair and CEO. Doing business as "F li x Brewhouse," through various
                      affi liates and subsidiaries, Texas-based Flix operates ten dine-in cinemas that offer its own
                      craft beers. An eleventh location was indefinitely postponed construction in March. Flix
                      has been hard hit by the COYID-19 pandemic and has largely suspended operations during
                      much of 2020. Although Flix anticipates additional governmental grants through the Save
                      Our Screens program, there is continued uncertainty about future conswner demand for
                      theatrical movies after the pandemic subsides. Flix is in default of all of its debt and lease
                      obligations. Due to uncertainty of future financial performance and the current financial
                      distress of Flix and its various subsidiaries and affi liates, no value has been ascribed to the
                      Debtor's equity interests in Flix in the Liquidation Analysis.

                 5.   Investments in Texas LLC and LP entities: The Debtor owns interests in several limited
                      liability companies ("LLCs") and limited partnerships (" LPs") in addition to his direct and
                      indirect investments in Flix Entertainment LLC. In a liquidation, the Trustee woul d, at
                      most, be entitled to the economic benefits that would flow to a member or partner.
                      Similarly, under Texas law, the exclusive remedy for a creditor of an individual who is a
                      member or partner ofan LLC or LP is a charging order against the individual's membership
                      or partners hip interest, directing all distributions owed to the individual to be paid to the
                      individual's creditors (i.e. the holder of the charging order).

                      In the Liquidation Analysis, it is assumed a Chapter 7 trustee is able to obtain a charging
                      order associated with the Debtor's interests or otherwise obtain the benefit of the economic
                      interests (i.e. distributions or rights upon a sale, which for the purposes of this analysis are
                      not materially different than receipts under a charging order) in the following entities after
                      the Conversion Date. With a charging order in place, there are increased incentives for the
                      Debtor, as a manager of the underlying businesses, to reinvest profits into the businesses,

    1Related entities include Woodward Center Inc., FB Capital LLC, Hospital ity Investors, Inc., Southwestern Reta il
    Properties II LP, and Southwestern Retai l Properties 111 LP. Debtor believes his equity interests in these entities have
    no liquidation value.
20-11161-tmd Doc#165 Filed 05/24/21 Entered 05/24/21 15:09:32 Main Document Pg 42
                                      of 48




                 rather than make distributions to equity. In the Liquidation Analysis, discount rates of 50%
                 and 60% are utilized in the low and high scenario, respectively, to reflect increased
                 uncertainty and risk of that the timing of distributions to members or partners are
                 significantly delayed into the future:

                 a. 100 Trinity LLC: This entity makes opportunistic loans and investments in both
                    public and private securities. With a charging order in place, it is assumed that profits
                    are reinvested in securities yielding 3.0%.
                 b. Round Rock Business Park LP ("RRBP") and ARPROP Inc.: owner and general
                    partner of Park West Corporate Center, an office campus in Round Rock, Texas. T he
                    Liquidation Analysis utilizes the projected cash flows included in the Financial
                    Projections and discount rates of 50% and 60% to refl ect the uncertainty that
                    management would reinvest profits rather than distribute profits to equity.
                 c. Southwestern Retail Properties LP and Southwestern Retail Properties GP:
                    owner and general partner of Sky Ridge Plaza (lots I and 5), a 14 1,000 square-foot
                    retail center in Round Rock, Texas. The Liquidation Analysis utilizes the projected
                    cash flows included in the Financial Projections and discount rates of 50% and 60% to
                    reflect the uncertainty that management would rei nvest profits rather than distribute
                    profits to equity.

            6. Equity interest in 3401 Hoteliers LP: 340 I Hoteliers LP (" Hoteliers") is an entity that
               operated a Wyndham Garden hotel in Austin, Texas, subject to a ground lease and a fi rst
               mortgage on the improvements, both of which are in default. Operations of the hotel ceased
               in October 2020 and a court-appointed receiver now manages the closed hotel and
               associated real estate. While the underlying asset is subject to a letter of intent for purchase,
               s ubject to the ability to assume Hoteliers' loan and cure its defaults, the Debtor does not
               project that any proceeds will be available for distribution to eq uity. Hoteliers has
               s ubstantia l unsecured debts, and penalty loan interest is accruing in the interim.
               Accordingly, no value has been attributed to this asset in the Liquidation Analysis.

            7.   Equity interest in Aramcor Inc: Aramcor Inc. is a management services organization
                 with approximately IO employees, incl uding Debtor, who provide vario us accounting,
                 property management and executive services to operating affiliates. Other than receivables
                 from affiliates, the dollar majo rity of which are from Flix and Hoteliers, both "out of
                 business" either temporarily or permanently, Aramcor's assets are limited to used office
                 furniture and eq ui pment with de minimus value. It also has lease liability for its office
                 premises to Southwestern Retail Properties LP. Without its employees and Debtor's
                 continued leadershi p and executive management services, and without fee-generating
                 affi liates, Aramcor has minimal value. A sale of its used office fi xed assets would not
                 likely exceed its lease liability in liquidation. Accordingly, limited value is attributed to the
                 Debtor's equity interest.

            8.   Investments in Prairie Point Estates Inc.: The Debtor holds two investments in Prairie
                 Pointe Estates Inc . (" PPEI"), including an equity investment of $360,000 and $ 1, 175,000
                 in the form ofa subordinated PIK Note originally payable to RRBP and later distributed to
                 Debtor. The only collateral fo r the PIK Note is a pledge of PPEI's equity interests. PPE I is
                 in the beginning stages of developing approximately 242 acres of raw land into an
20-11161-tmd Doc#165 Filed 05/24/21 Entered 05/24/21 15:09:32 Main Document Pg 43
                                      of 48




                 equestrian-themed midscale res idential acreage subdivision. The Liquidation Analysis
                 assumes development operations are halted and the raw land is sold expeditiously at a price
                 per acre of $5,500 - $6,000 (low and high scenario, respectively). The net proceeds, after
                 paying commissions and other liquidation costs, are then used to repay the first mortgage
                 and then the PIK Note. At the estimated gross proceeds, no value is attributed to the
                 Debtor's equity interest.

            9.   Minority Investments in Third-party Entities:

                 a.   Nineteen77 Global Arbitrage Ltd: The Debtor holds an interest in this Cayman
                      Islands-based hedge fund specializing in merger arbitrage. The fund is managed by
                      UBS O'Connor and holds a reported approximately $126 million of assets under
                      management. The fund requires redemption requests be submitted at least 15 days prior
                      to month end, at wh ich time the holdings are liquidated. Proceeds are distributed
                      approximately 30 days following the month end. Included in the Liquidation Analysis
                      is the Debtor's holdings as of December 31 , 2020.

                 b.   First Stop Health, LLC: an online and tele phonic health concierge service for
                      ind ividuals and families that combines 24/7 expert advice and diagnosis, unique
                      symptom and condition information, and resource locators to meet its members' minor
                      and major, urgent and chronic, healthcare needs. Th is company is still in development
                      mode but has seen increased demand for tele-health as a result of the COVID- 19
                      pandemic. While demand of the company's services are strong, there are many
                      competitors, including four large well-known companies. The Debtor's community
                      property has a 1.0 195% interest in th is entity. Debtor has no control or influence over
                      this entity.

                 c.   Luft Hefe LLC: the holding company of a popular brew-pub restaurant in Austin,
                      Texas named "North By Northwest." Luft Hefe LLC ceased operations and liquidated
                      in 2020 due to the COVID-1 9 global pandemic. No value is attributed to the Debtor's
                      interest in this entity in the Liquidation Analysis.

                 d.   Newser LLC: internet news site whose editors hand-pick the best stories from
                      hundreds of US and international sources and summarize them into sharply written,
                      easy-to-digest news briefs. Revenues have increased significantly, and the company
                      attained profitabi lity on a GAA P basis in 20 19. However, in recent quarters growth has
                      stalled. Debtor has no control or influence over this entity.

                 e.   Select Access 2 Liquidation LLC: This is a "hedge fund of funds" that has been
                      liquidating illiquid investments in its portfolio since the Great Recession. It has very
                      few assets remaini ng, and Debtor has no control or influence on this entity. The fund
                      operator sends annual statements of assumed value.

            10. Bonds and Notes Receivable

                 a.   Fli x Enterta inmen t Note Receivable: The Debtor holds a note receivable in the
                      original principal amount of $150,000, with a current balance of $49,174 plus accrued
                      interest. Because of the distressed financial condition of Flix and its uncertain futu re,
20-11161-tmd Doc#165 Filed 05/24/21 Entered 05/24/21 15:09:32 Main Document Pg 44
                                      of 48




                    the Debtor's status as an Insider, and the Debtor's subordination of claims against Flix
                    to that of holders of Flix indebtedness g uaranteed by Debtor, an assumed liquidation
                    value of$0.04 - $0.08 cents on the dollar was estimated for the Estate's portion of this
                    asset in the Liquidati on Analys is.

                b. Series H United States Savings Bond: Seri es H savings bonds are redeemable at face
                   value.

            11. Federal Income Tax Refund: The Coronavirus Aid, Relief, and Economic Security
                ("CARES") Act, P.L. 11 6- 136, signed into law by President Donald Trump on March 27,
                2020, temporarily rei nstated allowed carryback periods fo r Net Operating Losses
                ("NOLs") generated in tax years 2018, 20 I 9, and 2020. Analys is to calculate or estimate
                the actual value of the Debtor's tax attributes is dependent on Debtor's ability to engage
                the CPA firm that prepared his federal tax returns for the past five years. Said CPA firm is
                currently preparing an engagement letter fo r this assignment and is also a pre-petition
                creditor. Based on an oral discussion with the applicable CPA firm partner, Debtor has
                been adv ised that the CARES Act carryback when and if prepared, filed and approved by
                the IRS could result in a refund of as much as an estimated $700,000, limited by the amount
                offederal taxes paid. The Debtor 's Estate would have a 50% interest in any such potential
                refund as the refund would be community property. For the purposes of the Liquidation
                Analysis, the Debtor has included a range of $200,000 to $350,000 for the Estate's interest
                in the refund, which incorporates the estimated cost of a CPA to restate several years of
                tax returns and the uncertainty in the fina l allowed NOL carryback amount.

            12. Administrative Expenses

                       a.   Chapter 11 Professionals: The Debtor has included an estimate of$50,000 to
                            $ 100,000 for professional fees incurred pri or to the Conversion Date.

                       b. Subchapter V Trustee: The Debtor estimates approximately $ 10,000 to
                          $20,000 of fees for the Subchapter V Trustee prior to the Conversion Date.

                       c.   Chapter 7 Trustee and Professionals: Chapter 7 T rustee fees are calculated
                            based upon 3% of available funds to distribute to creditors and adm inistrative
                            expenses. Additionally, the Debtor has included an estimate of $50,000 to
                            $150,000 for professionals that would likely need to be retained to assist the
                            Chapter 7 Trustee evaluate and liquidate the Debtor's assets, including the need
                            to pursue a charging order re lated to the Debtor's interests in vari ous LLCs and
                            LPs.

            13. Claims

                         As of this date, a total of 17 proofs of claim totaling $33,774, 144.79 in unsecured
                         claims have been fil ed, most of which consists of purported g uaranty liability for
                         post-petition lease acceleration claims. As the Proof of C laim deadline has not
                         passed, it is not possible to state the amount of claims that will be fi led.
                         Additionally, the Debtor expects that a number of the claims will be subject to
                         objection and/or estimatio n.
20-11161-tmd Doc#165 Filed 05/24/21 Entered 05/24/21 15:09:32 Main Document Pg 45
                                      of 48




     Allan L. Reagan, Debtor
     Case #20-1 I 161 -tmd
     Liq11ida1ion Analysis
     Assumed Conversion on March 3 I, 2021


    Assets (excluding exempl property) :
                                                          11!11
                                                                      low             High
      Cash                                                        $     155,000   $      165,000
      Vehicles                                              2               500            2,000
      Marketable Securities                                 3         1,104,000        1,257,000
      Investments in/related lo Flix Entertainment, LLC     4
      Investments in Texas LLC and LP Entities
            I 00 Trinity LLC                               Sa           57,000           92,000
            Round Rock Business Park LP / ARPROP           Sb          230,000          286,000
            Southwestern Retail Properties LP / GP         Sc           76,000          101 ,000
      Investments in 340 I Hoteliers LP                     6
      Investments in Aramcor Inc.                           7                              1,500
      Investments in Prairie Pointe Estates, Inc.
            PI K Note                                       8          381 ,000         438,000
            Equity                                          8
      Minority Investments in 3rd Party Entities:
            1977 Global Merger Arbitrage LLC               9a          192,000          214,000
            First Stop Health, LLC                         9b                            25,000
            Luft Hefe LLC                                  9c
           Newser LLC                                      9d                            10,000
           Select Access 2 Liquidation LLC                 9e                             2,500
      Bonds / Notes Recei vable
            Fli x Entertainment Note Recei vable           10a           1,000            2,000
           Series H Savings Bond                           10b           3,000            3,000
      Tax Refund                                           11          200,000          350,000
      Life Insurance Policy                                             11,250           11 ,250
      Inherited IRA                                                      4,820            4 820
    Total Assets                                                  $   2,415,570   $    2,965,070

    Administrative Expenses:
     Chapter 11 Professionals                                           50,000           75,000
     Subchapter V Trustee                                               10,000           20,000
     Chapter 7 Trustee                                                  72,467           88,952
     Chapter 7 Professionals                                            50,000          150,000
     Other Administrati ve Expenses                                     10,000           25,000
    Total Administrative Expenses                                 $    192,467    $     358,952

    Ava ilable for Distribution to Creditors                      $   2,223,103   $    2,606,118
                20-11161-tmd Doc#165 Filed 05/24/21 Entered 05/24/21 15:09:32 Main Document Pg 46
                                                      of 48

FINANCIAL PROJECTIONS

 PRAIRIE POINTE ESTATES, INC.                                      Year1           Year2             Year3            Year4             Years
 Gross Revenue                                                 $    270,000     $ 1,804,400       $ 1,867,554    $     817,773      $
 Commissions                                                         (10,800)         (72,176)        (74,702)          (32,711 )
 Net Revenue                                                   $    259,200     $ 1,732,224       $ 1,792,852    $     785,062      $
 Planning, design and approvals                                    288,450
 Hard construction cost (including amenities)                      685,000            425,000         325,000
 Management and overhead                                           139,200            104,400          34,800           17,400
 Contingency                                                       100,000             60,000          20,000           13,050
 Cash Interest                                                      43 750             62,500          12,500
 Tota l Project Costs                                          $ 1,256,400      $     651 ,900    $   392,300    $      30,450      $
 Net Project Cash Flow                                         $   (997,200)    $ 1,080,324       $ 1,400,552    $     754,612      $
 Financing Payments
 First Mortgage (100 Trinity)                                       750,000         (1,000,000)      (250,000)
 PIK Note - Principal (Allan Reagan)                                                                                 (1,175,000)
 PIK Note - Interest (Allan Reagan)**                                                                                  (257,978)
 Equity - Invested Capital (Allan Reagan)                                                                              (360,000)
 Equity - Capital Gains (Allan Reagan)**                                                                               (215,546)
 Equity - Invested Capital (Duane Davis)                                                                                (90,000)
 Equity - Capital Gains (Duane Davis)                                                                                  (118,956)
 Ending Cash Balance                                           $    231,992     $     312,316     $ 1,462,868    $                  $


•• Included in Funds Available for Distribution to Creditors
20-11161-tmd Doc#165 Filed 05/24/21 Entered 05/24/21 15:09:32 Main Document Pg 47
                                      of 48




                         EXHIBIT C
                                        20-11161-tmd Doc#165 Filed 05/24/21 Entered 05/24/21 15:09:32 Main Document Pg 48
                                                                              of 48

AJlan L Reagan. Debtor
Case #2~11161-tmd
Exhibll C - Mled and Schcdulod Oaims • •



                                                        I        Proof of aaim       I                                              Scheduled



Ford Motor Credit Corp.                                     17         $60, 782.63          $60,782.63     SE   Secured               Fo<d Explorer Automobtk, k>an
                                                                                                                                                                              i.Pid&W
Wol s Fargo Al/10                                                                           $64,679.34     SE   Secured               Fo,d F-250    Autornobic loan
lnleracllve Brokerg                                                                      $1,007,526.69     SE   Socurod               lnves1ments   Margin Loan
~Wbamson County Tax Office                              15             $17,906.94                          PR   Pnonly                              Real Propeny Tox.
83rd Street Development llC                             20          $2,536,460.22                          GU   Unsecured      CJU                  Guaranlee                  Docket 01 10
Ann E. Hea<ley
Bank of Austin
Benneu living Trust
                                                        9
                                                         6            $219,495.97
                                                                    $1,795,087.90
                                                                                           $210,062.64


                                                                                            $91,460.92
                                                                                                           GU
                                                                                                           GU
                                                                                                           GU
                                                                                                                Unsecured
                                                                                                                Unsecured
                                                                                                                Unsecured
                                                                                                                                C
                                                                                                                                                    Guaranlee
                                                                                                                                                    Guaranloe
                                                                                                                                                    Guarnmoe
                                                                                                                                                                          I    Docket #113

Capil al Ono Spark Visa     tor Business                    8           $8,956.9 1           $8,838.59     GU   Unsecured                           Crcdi1   Card
Q\ase Ink Card fo, Business                                 3           S8.699. 17           $8,343.35     GU   Unsecured                           0~1      Card
Chase VISA Mleage Plus                                      2           $9,021.09            $9,034.22     GU   Unsecured                           Oedll    C:ltd
Ci1k:ard Aadvanlage Mas!ercard                                                                 $169.28     GU   Unsecured                           Credit   Card
Comerica Bank                                                                              $217,442.28     GU   Unsecured       C                   Guarancee
C,on"ericaBank                                                                               $3,543. 70    GU   Unsecured                           Credit Card
c:omenca Ba,.                                           14          $5,041,966.78                $0.00     GU   Unsecured       C                   Goaranlee                  Docket 0105
Discover Card
OT Oiandler LlC
Frances and wayne lee
                                                         1
                                                        13
                                                                         $230.76
                                                                   S15,253,566.52
                                                                                               $400.00

                                                                                             $9. 142.40
                                                                                                           GU
                                                                                                           GU
                                                                                                           GU
                                                                                                                Unsocurod
                                                                                                                Unsecured
                                                                                                                Unsecured
                                                                                                                               CJU
                                                                                                                                                    Ocd11 Card
                                                                                                                                                    Goaranloe
                                                                                                                                                    Guarancee
                                                                                                                                                                          I    Docket #107


Gary J. Neum.1yer                                           4          $36,569.57           $36,569.57     GU   Unsecured                           Guarantee
Headley l f\\lestmenls LP                                   7          $27,357.57           $27,438.28     GU   Unse<::ured                         Guarantee
Kathleen R McCoonck                                                                         $17,948.39     GU   Unsecured                           Guarantee
Lone S!or Nalional Bank                                 19          $9,918,969.31                          GU   Unsecured       C                   Guarantee             I    Docket 0114
Mad,sorYEasl    To-.-.no LlC                            12            5426,750.00          $426,750.00     GU   Unsecured     CJU'D                 Guarantee
Martin S. Headley                                           5         $291 ,407.05         $292. 179. 14   GU   Unsecured                           Guarantee
Mer1o H3y lnvesto,s LLC                                 21            S361 .556.12               $0.00     GU   Unsecured      CJU                  Guarantee
M.keska Monahan & Peckham. P.C.                                                              S9,535.00     GU   Unsecured                           Se,vk:es
ROP Attcraft LLC
RPT Realty, L.P.
                                                        11          $3,750,801 .80               $0.00
                                                                                            $15,518,66
                                                                                                           GU
                                                                                                           GU
                                                                                                                Unsecured
                                                                                                                Unsocured
                                                                                                                               CJU
                                                                                                                               CJU
                                                                                                                                                    Guarantee
                                                                                                                                                    Guarantee
                                                                                                                                                                          I    Docket 1'108

Spain FafT'lly IX LLC                                                                       $91,460.93     GU   Unsecured                           Guarantee
UBS Real Esl al e Securities I nc.
Vibge @ La Dnl a
W,,ndMm Franchisor UC
                                                        18
                                                        10
                                                        16
                                                                   $13,617,453.28
                                                                    $6,617,549.79
                                                                     $207,994.34
                                                                                          $392.970, 75
                                                                                          $199,437.44
                                                                                                           GU
                                                                                                           GU
                                                                                                           GU
                                                                                                                Unsecured
                                                                                                                UnsocurO<I
                                                                                                                Unsecured
                                                                                                                               CJU
                                                                                                                              CJUID
                                                                                                                                                    Guar.on<ee
                                                                                                                                                    Guarantee
                                                                                                                                                    Franchise agrccmcnl
                                                                                                                                                                          I    Dockel #11 5
                                                                                                                                                                               Docket #106



TOTAL                                                              $60,208.583. 72       $3,20 1,234. 20

SCHE.OULED AS UNKNOWN/$0 AHO DID NOT RLE PROOF OF CI.AJM
Action Propane                                                                                             GU   Unsecured                           Se,vices
A0T                                                                                                        GU   Unsecured                           ~rvicos
AJ 03Mon Dsposal                                                                                           GU   Unsecured                           Services
AT&T                                                                                                       GU   Unsecured                           Services
AT&T(O'rec:TV}                                                                                             GU   Unsecured                           Servk:es
Comerica Bank                                                                                              GU   Unsecured       C                   Guarancee
Comerica Bank                                                                                     $0.00    GU   Unsecured       C                   Guarantee
Allt Brev.houso Texas IV, llC                                                                              GU   Unsecured      CJU                  Guarantee
GCRE/TX Main M.1rkel placo LLC                                                                             GU   Unsecured      CJU                  Guarantee
Lone Star Nallonal Bank                                                                                    GU   Unsecured       C                   Guarantee
PedefnaJos Eleclnc C,oo-pa'f'/                                                                             GU   Unsecured                           lAYilies
POOMerx by Blue Bollom POO Supply                                                                          GU   Unsecured                           Services
Prudonhal Mor1gage Capilal ~ n y LLC                                                                       GU   Unsecured      CJU                  Guarantee
Securian/Mnnesola Life Insurance Co.                                                                       GU   Unsecured      CJU                  Goarancee
Sovl~lem Relatl Propet1ies II LP.                                                                          GU   Unsecured      CJU                  Guaranlee
Spectrum                                                                                                   GU   Uosecured                           Services

•C   = Contingent,   U   = l.hhquidoted, D • Disputod
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